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                        EXHIBIT 3
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                                                                                     0220-05151-0091
                                         TRANSMITTAL
 TO                                                                   DATE            COUNCIL FILE NO.
  The City Council
                                                                      9-9-19
                                                                                        17-0090-S8
  FROM                                                                                COUNCIL DISTRICT
  The Proposition HHH Administrative Oversight Committee
                                                                                             ALL

 At its August 29, 2019 meeting, the Proposition HHH (Prop HHH) Administrative Oversight
 Committee (AOC) considered recommendations from the Prop HHH Citizens Oversight Committee
 (COC) relative to the attached report from the Housing and Community Investment Department
 (HCID) relative to Prop HHH Permanent Supportive Housing (PSH) Loan Program - Funding
 Recommendations 2018-19 Call For Projects Round 3.

  The Administrative Oversight Committee recommends that the City Council, subject to the approval
  of the Mayor, approve the following as amended:

      A. Authorize the Housing and Community Investment Department (HCID) to issue letters of
         financial commitment for each of the projects identified in Table 2A of the attached report.
         The recommended projects are the result of the 2018-19 Call for Projects Round 3, and are
         subject to the following conditions:
         i.     The final Proposition HHH Permanent Housing Loan Program financial commitment
                will not exceed $238,120,946, per the breakdown of projects listed in Table 2A,
                summarized on Table 4 and including a commitment of $7,000,000 for the project
                proposed as the result of a Request for Proposals to identify a developer for the City-
                owned site at 11010 Santa Monica Boulevard;
                The disbursement of Proposition HHH Permanent Housing Loan Program funds will
                not take place until a project sponsor is able to obtain enforceable commitments for
                all proposed project funding, including, but not limited to, the full amount of funding
                and/or tax credits proposed in the Call for Projects application;
                Proposition HHH Permanent Housing Loan Program financial commitments are
                conditional upon passing HCID's background check process, including a legal
                review; and
      B. Authorize the restructuring plan for the Missouri Place Apartments projects described in the
         report Tables 5 and 6.




                                           Richard H. Llewellyn, Jr
                                          City Administrative Officer
                         Chair, Proposition HHH Administrative Oversight Committee
  RHL;MB:EMM: 16200011
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    I­
 f Los Angeles!
 HOUSING + COMMUNITY                                                                             Eric Garcetti, Mayor
        Investment Department                                                Rushmore D. Cervantes, General Manager
 Housing Development Bureau
 1200 West 7th Street, Los Angeles, CA 90017
 tel 213.808.8638 | fax 213.808.8610
 ticidlajadty.org


       INTER-DEPARTMENTAL MEMORANDUM
       TO:                    PROPOSITION HHH CITIZENS OVERSIGHT COMMITTEE

       FROM:
                   \          RUSHMORE D. CERVANTES, GENERAL MANAGER
                              LOS ANGELES HOUSING + COMMUNITY INVESTMENT DEPARTMENT

       DATE:                  AUGUST 20, 2019

       REGARDING:             PROPOSITION HHH PERMANENT SUPPORTIVE HOUSING LOAN
                              PROGRAM

                              FUNDING RECOMMENDATIONS 2018-19 CALL FOR PROJECTS ROUND 3

 SUMMARY

 On February 28,2019, the Los Angeles Housing + Community Investment Department (HCIDLA) issued
 the Proposition HHH Permanent Supportive Housing Loan Program, 2018-2019 Call for Projects Round
 3 (C.F. No. 17-0090-S8, CAO report dated June 15, 2018). Through this report, HCIDLA is requesting
 that the City Council and the Mayor authorize the issuance of letters of commitment for 34 affordable
 housing projects (see Table 2A of this report).

 In addition, HCIDLA is requesting approval of the revised financing plan for the Missouri Place
 Apartments project, and an award cf a $7,000,000 HHH funding commitment for the recommended
 project from the Santa Monica Boulevard HHH Design Request for Proposal, both as described in detail
 in this report.

  'RECOMMENDATIONS

  I.    The General Manager of HCIDLA respectfully requests that the Proposition HHH Citizens Oversight
        Committee (COC) recommend to the Administrative Oversight Committee (AOC), for further
        consideration by the City Council and the Mayor, to authorize the following actions:

        A. AUTHORIZE HCIDLA to issue letters of financial commitment for each of the projects identified
           in Table 2A of this report. The recommended projects are the result of the 2018-2019 Call for
           Projects Round 3, and are subject to the following conditions:

             i. The final Proposition HHH Permanent Supportive Housing Loan Program (HHH) financial
                commitment will not exceed $238,120,946, per the breakdown of projects listed in Table 2A
                and summarized on Table 4;




  An Equal Opportunity/Affirmative Action Employer
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           ii. The disbursement of HHH program funds will not take place until a project sponsor is able to
               obtain enforceable commitments for all proposed project funding, including, but not limited
               to, the full amount of funding and/or tax credits proposed in the Call for Projects application;

           iii. HHH financial commitments are conditional upon passing HCIDLA’s background check
                process, including a legal review; and,

      B. AUTHORIZE the restructuring plan for the Missouri Place Apartments project (see Table 5 and
         Table 6).

  BACKGROUND

  2018-2019 Call for Projects Round 3

  The Proposition HHH Permanent Supportive Housing Loan Program, 2018-2019 Call for Projects Round
  3 (CFP R3) opened on February 28, 2019. In response, 44 project applications requesting a total of
  $357,006,747 in Proposition HHH funds were submitted by the March 29,2019 deadline (see Attachment
  A: 2018-19 HHH CFP Round 3 Project List). HCIDLA staff performed Threshold Reviews of the 44 CFP
  R3 applications and concluded that a total of 34 out of the 44 projects were viable candidates for HHH
  funding (see Threshold Review process outlined below).

  Therefore, HCIDLA is requesting authority to issue financial letters of commitment for the 34 new
  projects, totaling $231,120,946 in HHH funds. The proposed new HHH projects represent a cumulative
  total of2,179new units (1,691 supportive housing units, 451 affordable units, and 37 managers units). Of
  these units, 868 will be reserved for the chronically homeless.

  Within the group of recommended new HHH projects, it should be noted that some have development
  costs exceeding $600,000 per unit. However, the average total development cost per unit for the
  recommended projects is $501,906, as compared to the average program-wide HHH costs of $511,325
  per unit If approved, the total number of units funded under the HHH program would increase to 7,640,
  which includes 5,873 supportive housing units, 1,641 affordable units and 126 manager’s units.

  The 34 recommended projects are located in 13 different City Council Districts, with an average of
  approximately 64 units per project. The projects will directly or indirectly support approximately 10,521
  jobs.

   The County of Los Angeles No Place Like Home Program

   The HHH Permanent Supportive Housing Loan Program was intended to operate concurrently with the
   County of Los Angeles’ No Place Like Home (NPLH) funding program; however, NPLH funds were
   unavailable until the CFP R3 was issued. For earlier rounds, HCIDLA’s Proposition HHH Regulations
   allowed for “supplemental” funding of $80,000 per supportive housing unit, in addition to the $140,000
   per supportive housing unit to bridge the financing gap, until the NPLH funding program was fully
   operational. For the current CFP R3, fee NPLH program was operational; therefore, supplemental funding
   was ceased and loan sizing was adjusted down from a possible $220,000 per supportive housing unit to
   $140,000. Additionally, in m effort to encourage the use of NPLH funds and to extend the viability of
   the HHH Loan Program, HCIDLA requested current and previous applicant/borrowers to reduce their
   HHH loan requests, or reduce existing HHH loan commitments. As a result, applicant/borrowers reduced
   their HHH requests by $26,611,998, allowing HCIDLA to recommend the CFP R3’s 34 projects.
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 HHH REVIEW PROCESS

 HHH Program Priorities

 The Proposition HHH Regulations set forth six program priorities, approved by the City Council and the
 Mayor, all of which the recommended projects meet. The six program priorities include:

     1. Transit-Oriented Developments: Projects that are located no further than one-half mile from a
        transit station/stop that is served by a major transit provider;
     2. Geographic Distribution: Projects located in the highest, high, and moderate resource areas/census
        tracts, to advance the City’s fair housing goals of integration and access to opportunity;
     3. Access to Services: Projects located within one-half mile from a facility that provides services
        appropriate for increasing tenant health and well-being;
     4: Leveraging: Projects meet this priority if they are requesting below the maximum permitted HHH
        loan limits;
     5. Projects containing over 50 units; and,
     6. Projects with more than 50% of the total units designated as supportive housing (SH) units.

 HHH Program Threshold Review

 All CFP R3 applications underwent a thorough threshold review process, performed by HCIDLA staff,
 which required the applicant to demonstrate that the project and developer team met the criteria below:

     •    HHH Program priorities;
     •    Reasonable lender/borrower due diligence;
     •    Compliance with the Proposition HHH 2018-2019 Supportive Housing Program Regulations,
          Policies, and Procedures;
     •    Site control; and,
     •    Overall project financial feasibility and viability.

 All of these aspects were factored into the scoring process and the determination of the final project score.
 Table 3 of this report provides a summary of the points received by the 34 recommended CFP R3
 applicants.

 Specifically, site control demonstrates the developer’s legal control over the land where the project will
 be constructed. Demonstration of site control can include a title report showing ownership, a purchase and
 sale agreement, or a lease option agreement. If an applicant submits site control documentation with
 unclear, conflicting, or otherwise inconsistent information, HCIDLA staff will not deem the application
 ineligible, but will perform an additional investigation to verify site control.

  Financial viability is determined by evaluation of a project’s development costs and expenses in order to
  ensure that adequate funding sources exist to cover all necessary costs. The financial analysis includes but
  is not limited to: 1) review of the reasonableness of land value/pricing, including project construction costs
  and tax credit pricing assumptions; 2) review of estimated project, rents to determine if they are reasonable
  and realistic; 3) review of cash flow after debt service to determine/ensure cash flow is positive over the
  course of time; 4) review of project reserve accounts and utility allowances to determine/ensure amounts
  are appropriate and feasible; 5) review of the HHH per unit funding to ensure that the amount is within          '
  the approved maximum HHH funding limits; and, 6) review of financial statements submitted by
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  members of the development team to affirm sustainability of the ownership entity, and to safeguard
  completion of the project.

  Other critical factors contributing to a successful project application include well-prepared organizational
  documentation that establishes a clear understanding of the roles and responsibilities of the parties
  involved in the development structure, and documentation demonstrating that the development team as a
  whole has the requisite experience necessary to meet criteria set forth in the Proposition HHH Regulations.

   2018-2019 Call for Projects Round 3 Scoring Process

  HCIDLA determined that the CFP R3 could be competitive due to the limited amount of HHH funding
  available. As such, a scoring/ranking structure was established, to be employed if the round became
  oversubscribed. Given the high number of applications, the established scoring/ranking procedures were
  ultimately utilized. Applications were scored and ranked based on points given for meeting the HHH
  program priorities and requirements.

  The six program priorities were assigned a specific number of points, totaling a possible 60 points. For
  the “Transit-Oriented Developments”, “Geographic Distribution”, “Leveraging”, and “Projects with more
  than 50% of the total units designated as supportive housing” categories, an applicant could receive either
  0, 3, 7 or 10 points; for the “Access to Services” and “Projects containing over 50 units” categories, an
  applicant could receive either 0 or 10 points. The total number of points an applicant received were then
  calculated in conjunction with a cost adjustment factor that served to level out all of the applicant scores.
  All of these aspects were factored into the scoring process and the determination of the final project score.
  Table 3 of this report provides a summary of the points received and scoring outcomes of the 34
  recommended CFP R3 applicants.

  2018-2019 Call for Projects Round 3 Anneals Process

  At the conclusion of the Threshold Review process, applicants not passing the review were given an
  opportunity to appeal the process and/or the score, and request a further review of the project. Upon
  conclusion of the CFP R3 appeal process, applications were again scored, and a list of projects were
  prepared for recommendation to the COC and AOC, subject to City Council and Mayor approval.

  RESULTS OF THE 2018-2Q19 CALL FOR PROJECTS ROUND 3 REVIEW PROCESS

  Projects Not Recommended

  Six applications submitted by three sponsors failed to demonstrate the minimum required developer
  experience after the appeals process was concluded, and therefore are not being recommended for funding.
  In addition, four project applications were withdrawn by their respective sponsors, and therefore are also
  not being recommended. Details of the ten applications not being recommended at this time are shown in
  Table 1, below.
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                                                           TABLE 1:
             HHH CFP R3 PROJECTS NOT BEING RECOMMENDED FOR FUNDING AT THIS 1 ,'V.E
                                                                                      'Tf                                          5
                                                                   f                                                  Homeless
                                     Total    Sii           SB                         i    TDC/      Total HHH
         Project Name                                                                                                Population j
                                                          Chronic fi
                                CD                                        TDC
                                     Units   Units                                     ?    Unit       Request
                                                                                       j                               Served
  The Win Project - Kansas      9     42      41            23           10,574,321         251,769    4,200,000    Individuals

  The Win Project -                                                                                                 Individuals,
                                15    36      35            20           12,403,122         344,531    3,670,097
  Figueroa                                                                                                          Veterans
  The Win Project -
                                13    12      12             7            5,113,631         426,135     1,260,000   Individuals
  Robinson
  Whittier Heights              14    96      95            95           44,685,175         465,470    10,878,720   Individuals
   600 San Pedro                14    152     149           75           61,074,989         401,809    14,039,999   Individuals
  600 San Pedro 2               14    151     149            75          60,764,134         402,411    14,039,999   Individuals

  Applications Withdrawn
  Taylor Yard Senior
                                1     56      55            28           27,149,701         484,816     9,565,928   Individuals
  Housing 2
                                                                                                                    Individuals,
   The 78*                      8     64      36             18          34,843,336         544,427     5,727,600
                                                                                                                    Family
                                                                                                                    Individuals,
  Denny Apartments              2     64      34             17          34,136,979         533,390     6,434,400
                                                                                                                    Family
   Linwood PSH                  1     159     158            79          38,140,218         239,875    14,880,000   Individuals

                        Total         832     764           437        $328,585,606                   $84,696*743


  Projects Recommended

  When the CFP R3 Threshold Review and appeal review process was concluded, 34 projects were deemed
  viable candidates for HHH funding. However, the funding round remained oversubscribed and
  competitive. Applications were again reviewed, scores were updated, and ranked according to the
  approved scoring/ranking structure and HHH Program priorities, with an emphasis weighted towards
  leveraged funding and cost efficiency. Additionally, since many of the CFP R3 applicants had recently
  applied to the County for NPLH funds, they were given the opportunity by HCIDLA to either reduce their
  HHH funding request, or return funds from a prior HHH commitment as a means of improving their
  project point score. Twelve applicants responded to HCIDLA’s request, giving back a total of $26.6
  million which in turn enabled HCIDLA to fully fund all 34 of the CFP R3 applications at the requested
  revised amount.

  The recommended projects include two motel conversions and the adaptive reuse of a building located on
  federal land. The remaining projects are all new construction. Two projects are first-time HHH applicants
  that are proposing projects utilizing modular construction, which anticipates a savings of time and money.
  Three projects will be built on City-owned land, valued at $28,940,000.

  Table 2A, below, details project unit type, HHH funding request, and populations) to be served; Table
  2B, below, lists the project developer (see the correlating project line number in Table 2A), project address
  and project total development cost; and, Table 3, below, ranks the 34 recommended applicants by the
  highest to the lowest score, and provides a summary of the points received.
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   r              TABLE 2A: HHH CFP R3 RECOMMENDED PROJECT UST - GENERAL INFORMATION

                                                                                           SH              Afford-                                                  HHH
                                                             Total            SH
       :V<5,            Project Nome                CD                                   Chronic            able                           HHH Request            Request Per
                                                             Units           Units
                                                                                          Units             Units                                                      \      t
                      on 6th                    I 15          49     1        31           23                17        $                             '6,040,000   $        125,833
                                                                                                                    I-
               Silver Star II                   f 8           64                           28                 7     I$                               6,404,9001 $          136,274 ]
   S     3     Lorena Plaza                         14 I      49     l
                                                                     1 «
                                                                              32           16                16     f$                               2,903,202         “      .   '
         4     The Main                             61        64     |        33           17                       I?                               6,795,000i'$          123,545
   !     5     The Rigby                            6         64              33     I _ 17 ^ |              29    T$”“                              4795,000! $           123,545
   E     6     Chavez and Fickett               | 141         60              30'i 77
                                                                                      r    15                29 " 'IT                                6,300,000    $        123,529
         7     jHope on Hyde Park                   8 [       98              97 't        49                 0     T$                               9.280.000 | $         138,507
   £                                                     5
   |     8     Hope on Broadway                     9         49              48           24                 0                  |$                  6.720.000 f $’        140,000
         9     T opanga Apartments                  ‘12T      64              63           32                    0                     $             8,290,800 ]T          138,180
        10     Barry Apartments                     11        61     [        34           17                                                        6,918,400 | $         123,543
                                                                                                  J.         nun
        11     2745-2759 Francis Ave                F'f~ 64~~| ‘“63                  j     32                    0          ■1 $                     6.610.000 f $"'       137,708
   l
   5
   *
        12
        13
               537-541 N. Western Ave
               841 N. Banning
                                                    4
                                                    15
                                                              64
                                                              64 '1
                                                                     t UF|
                                                                              63     J
                                                                                           32
                                                                                           32
                                                                                                  r:
                                                                                                   j
                                                                                                                 0
                                                                                                                 0
                                                                                                                                 1 $
                                                                                                                                       $             8^000,0001 $ ~ 137,931
                                                                                                                                                                           137,794


               Westlake Housing
        14                                           1        63              62           32                    0               } $                 6.510.000    $        138,511
               (The Lake House)
               N0H0 5050                             2        40              32           16                    7                     $             3,833,200    $        136,900
   u?
    16         Florence Avenue Apartments            8        56         1    55           30                    0
                                                                                                                                  !
                                                                                                                                       $             6,300,000"!$          140,000
         17     1615 Montana St.                    13        64                           32      )■        0                                       6,614,0001$           137,792
                                                                     L-O J
         18    4507 Main St.                         9        64     T 33 J                17      \         30                  l $                ' 7,239,000 j$         120,650
                                                                                                    r™
         19    7650 Van Nuys                         2        96              49     3     25       t        46                                     11.460.000 j $         120,632
               Sap ulveda Ap ailments
        20                                           6        76              75           38                    0                     $            10.500.000 1 $         140,000
               Preservation LP
               Sherman Way Apartments                                                E
        21                                           2        56              55     !     28                    0                )$                 7,700,000 | $         140,000 1
               Preservation
         22    Enlightenment Plaza - Phase II       13        72___|          71           36                    0                                   9.940.000 I $         140,000
        23     Central Apartments                             57 ■ t          56           28                                                        7.840.000 i $         140,000
                                                U.                                                  !_2___ UL_
         24    SOLA at 87th                     I8 j 100 \ 51                              26         47   II                                        9,000.000    $        128,571
        25
         26
               The Angel
               Westlake 619
                                                f 6 1j 54 1I 53 s
                                                !    1 !      78              30
                                                                                           27
                                                                                            15    d n
                                                                                                    i.       47
                                                                                                                 0                  $
                                                                                                                                  J $
                                                                                                                                                     5.565.000
                                                                                                                                                      3,149^580 | $
                                                                                                                                                                           139,125
                                                                                                                                                                           1365938
         27    Beil G«wk Apartments                  3        80              41           22       J        38                        $              67226,546 $          135,360
         28     Washington Arts Collective          107 S6                    20            10               35                        S              2,097,200   $        139,813
         29     5th Street PSil *                   14        35              34            17                0                     $                 4/76O|O00lf $        140,000
         30    1VA Building 107                     N/A       64              63            32                0
                                                                                                              .♦---Li ' -         I s'
                                                                                                                            ---r.- ■   t«^r« iw..
                                                                                                                                                      8,820,006   $        140,000
         31     Thatcher Yard Housing               11        98              49            25               48                   fF                 lT,666,6661 $         120,206
         32    Lincoln Apartments                   11 j      40              39            20                0                        $              5.460.000            140,000
         33    4906-4926 Santa Monica               13         62             61            31                0                        $              5.225.000            137,500
         34     2652 Pico                            1         54              53           27                0                   j                   3,550,000““ $        136,538
                                                                                                                                  ,1..
                          TOTAL      2179                                     1691         868               451                                    231,320,946
                        AVERAGE       64                                       50           26         j      13                   S                              *        133,875
   )                                                                                                                                                                                  <**
     BOLD TYPE INDICATES CITY-OWNED LAND
       NOTE; HHH EEQXJES T PER UNIT IS BAS ID ON THE AMO UMT OF UNITS FUNDED BY HHH. MINDS


       *7he STH Street PSUproject information reflects the 34 units supported by HHHfunding, and not the remaining 117 units not
       supported by HHHfunding.
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                   TABLE IB -HHH CFP R3 PROJECT LIST - DENTiLOPENT COSTS (Recommended Projects)

                                                                                                                                 errv-
                                                                                                                                 OWNH)
  No,               DewIoperName                                Address                       TDC            11X7 t&ilt
                                                                                                                                 LANS
                                                                                                                                 VA [ill.
   1    1010 Development Corporation             576 W. 6th St,                         $      28,615371     $   583,987
   2    A Cormnuniiv ofFriends                   6576 S. West Blvd.                     $      26,623,932    $   415,999
   3    A Community ofFriends                    3401E 1st St.                      1   $ '""" 25,819,084' $     526,920
   4    Abbey Road, foe,                         15302 W. Raven St.                     $     41,018,669     $   640,917
   5    Abbey Road, Inc.______                   15314 W. Raven St,                     S     41,9701484     $   655,769
   6    Abode Communities                        338 N, Mathews St,                     $ ~~~ 41,186,592     $   686,443
   7    Aedis                                    6501 Crenshaw Blvd,                    $      40,093,334    $   409,116
                                                                                                                                            “7
   8    Aedis                                    5138 S. Broadway                       $      22,162,568    $   452,297}
   9    Affirmed Housing Group, foe,__________   10243 N, Top an g a Canyon Blvd,       $      28,617,938    $   447,155
   10   Affirmed Housing Group, Inc.             2454 S. Bany Ave,                      S      31,932,359    $   523,481 j                  “
   11 Affordable Housing CPC, Inc.               2745 W. Francis Ave,                   S      30,851,806
                                                                                                     :       $   482,059
   12   Affordable Housing CPC, Inc.             541N. Western Ave.                     $      30,997,101    $   484,330
   13 Century Affordable Development, Inc,       841N. Banning Blvd.                    $      31,648,058    S   494,501
   14 Community Development Partners             437 S. Westlake Ave.                   $      34,270,198    S   543,971
   15 Peero Corporation_____________             5050N. Bataan Ave.                     $      17,564,853    $   439.121
   16 Deep Green Housing and Community Dev 2172 W, Florence Ave.                        $      29.669,115    $   529,806
   17 Ponjus (35*110                             1615 W, Montana St.                           30,913,179    $   483.018
   18   fiAII Housing Inc,                       4505 S, Main St.                       $      24,839,171    $   388,112
   19 JEAH Housing Inc.                          7650 N, Van Nuys Blvd.                 $      47,426,085
                                                                                                     i       $   494.022
   20   Figueroa Economical Housing Dev, Corp. 8428 N, Sepulveda Blvd.                  $      29,821,884
                                                                                                 : !         $   392,393
   21   Figueroa Economical Housing Dev. Corp- 1356 W. Sherman Way 1-58                 $      20,808,990    $   371,539
   22   Flexible PSH Solutions                   316 N. Juanita Ave.                    $      29,956,000    $   416.056
   23 Highridge Costa Development Company        2106 S. Central Ave.                   S_____ 30,227,967    $   530,315
   24 Innovative Housing Opportunities, Inc.     8707 S. Western Ave.                   $      61,952,493    $   619,525
   25 LA Family Housing          ____________    8547 N. Sepulveda Blvd.                $      28,226,850    $   522,719
   26 Mm Mousing Corporation*                    619 S. Westlake Ave.                   $      34.276,576 $      439,443     $    7,800,TO
   27 Meta Hous ing Corporation                  6940 N. Owensmouth Ave.                $      39,949,602    $   499,370
   28   Meta Housing Corporation*                4615 W. Washington Blvd.                      29,780,273    $   531,791     S    5,240,030
   29 Relevant Group                             ;411E5thSt.                            $       11,657,496   $   333,071
                                                                                                                    :
   30 Thomas Saftan & Associates                 11301 Wilshire Blvd., #207             $      31,367,161    $   490,112
   31 Thomas Safran & Associates*                13233 S. Thatcher Ave.                         54,684,712   $   558,007     $ 15,900,000
   32 Venice Community Housing Corporation       2467 S. Lincoln Blvd.                          19,537,023   $   488,426
   33 Wakeland Housing & Development Corp, 4912 W. Santa Monica Blvd.                   c       36,038,114   $   581,260
   34 Wakeland Housing & Development Corp. 2652 W. Pico Blvd._______ _                  $       29,992,408   $   555,415
  BOLD TYPE INDICATES CITY OWNED LAM)                                                                        Tohi            $ 28,940,003
  *Jhdicates City-owned and dies cotiaclutk tendvdaes in the TDC as tire Sources and Uses SubmittedEaeimlrd the IjuaVkii'C
    Case
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                                         TABLE 3: HHH CFP R3 PROJECT LIST - SCORING

                                                      Geographic Service TLeveragiii Over 50        Over            Final ‘
    No. •          Pi-t-je t ?!unc              TOD                                                          CAF
                                                      Distribution FacijUie j g Priorih   Units    50% SH          Score
      1     Enlightenment Plaza - Phase n        10         3         10          10       10         10     113%r 59.87
      2     Hope on Hyde Park                    10         o         10          10       10         io     115%} 57.44
      3     SUver Star H                         10         0         10          10       10         10     113%   56.49
i     4     4507 Main St.                        10         0         10          10       10         3      121%   52.07
      5     2745-2759 Francis Ave                10         3         10          IO       10         10      97%  51.67
      6     1615 Montana St.                     10         3         10          10       10         10      97%  51.57
      7     NoHo 5050                            10         7         10          10        0         7      .116%  51.00
      8     537 - 541 N. Westem Ave.             1          3     JL—Jg.          10       10         10      97%   48.52
      9     Central Apartments                   10         0         10          10       10         10    j95%    47.67
     10     Topanga Apartments                   3                    10           3       10      ___ 10    105%   45,19
     11     4906-4926 Santa Monica               10         3         10          10    .
                                                                                           10          10     85%   44.91
     12     2652 Pico                             7         0         10          10       10         10      95%   44.79
     13     Sepulveda Apartments________         7          0         10          0        10         10     120%  '44.31
            Westlake Housing (The Inks
     14
            House!___________________________
                                                 10        0         10         10        10          10     86%       43.2
     15     5th Street PSH                       10        0         10         0         0           10     141%      42.33
     16     Westlake 619                         10        0         10         10        10          0      107%      42.78
     17     Lincoln Apartments                   10        10        10         0         0           10     97%       38.83
     18     The Angel                             3         0        10         10        10          10     90%       38.66
     19     Barry Apartments                     10         7        1C         3    JL   10           3     90%        38.6
     20     VA Bttflding 207                     10        0         10         0         10          10     96%       38.36
     21     Sherman Way Apartments               0          0        10         0         10   ■      10     126%      37.94
     22     Hope on Broadway                      3         0        10         10        0           10     113%      37.32
     23     j- Science Avenue Apartments          3         0         10        7         10          X0     93%       37.24
     24     Lorena Plaza                         10         0         10        10         0          7      95%       35.26
     25     Bell Creek Apartments                3          0         10        10        10          3      96%       34.68
     26     Washington Arts Cot iccn wa          3          3         J.O       10        10          0      88%       31.81
     27     SOXA at 87th                         10         0         10        7         10          3       80%       31.8
                                                                            4
     28     7650 Van Ways                        10         0         10        0         10          3     ' 95%      31.39
     29     841N- Banning                        0          0         10        3         10          10      96%      31.74
     30     Thatcher Yard Bous ing              O           7         10        10        10           0      84%      31.16
     3:     Chavez and Pickett                   10         0         10        3         10           0      70%      23.04
     32     The Main                              0         0         IO        3         10           3      73%      19.07
     33     The Rigby                             0         0         10        3         10           3      72%      18.63
     34     Hope on 6th                          io   i     0         10        0          0           3      80%~ 3   18.51
    BOUT TYPE INDICATES CITY-OWNED LAND




          PROPOSITION HHH FUNDING SUMMARY

          To date, out of the $1.2 billion Proposition HHH General Obligation Bond approved by voters in 2016,
          and with approval of the 2018-19 CFP R3 funding recommendations, the City will have committed
          funding to 114 projects resulting in 5,873 supportive housing units, for a total of $1,028,065,108. The
          City has also committed $49.7 million to the Proposition HHH Facilities Program.

          In addition to the two previously existing Proposition HHH programs, the Mayor’s Office has proposed a
          new competitive program, the Proposition HHH Housing Challenge, which would utilize $120 million of
          the $ 1.2 billion to encourage alternative construction methods and innovative financing models to produce
          1,000 supportive housing units in a timely and cost effective way, Funding recommendations from the
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  Housing Challenge are fully described in a separate Memorandum to The Citizens Oversight Committee
  to be considered for approval in parallel to this memorandum’s recommendations.

  Santa Monica Boulevard HHH Design Request for Proposal

 Additionally, HCIDLA released a Request for Proposals (RFP) related to the disposition and development
 of 11010 Santa Monica Boulevard, publicly known as the HHH Design RFP. The specific intent of the
 RFP was to solicit proposals that would deliver supportive housing that is better designed, cheapo-, and
 faster to build than the traditional affordable housing project. Details on the RFP process and the
 recommended developer to be selected can be found in a separate transmittal, also to be considered in
 parallel to this memorandum by the City Council and Mayor. HCIDLA is recommending herein approval
 of a $7,000,000 commitment of HHH funding for the RFP’s proposal project. The Proposition HHH
 Supportive Housing & HHH Facilities Program Status funding table (Table 4S below) illustrate current
 Proposition KHH expenditures:

                                            TABLE 4:
               PROPOSITION HHH SUPPORTIVE MOUSING & HHH FACILITIES PROGRAM STATUS


                                                         Amount of Prop
                    Commitments                                                 Number of Projects          Total Number of Units
                                                         HHH Committed

   Prop HHH - Originally Committed                            $809,713,423                          79                           5388
   Decrease of HHH Loans                                      *$19,769,261
   Total                                                      $789,944,162                          79                           5,410

                                              CURRENT HHH PROCiR VM STATUS
   HHH CFP R3 *                                               $238,120,946 T                        35                           2,230
   Proposition HHH Housing Challenge Program                  $ 120,000,GOOj"                                                      985
   Prop HHH — Revised HHH Commitments                         $789,944,162“ '                       79                           5,410
   Staffing                                                      $1,203,933                       M/A                             N/A
   Facilities                                                    $49,724,402                        N/A                            N/A
   Remaining. HHH Funds                                           $1,006,557
  _____
   Total ___ _____             ____                    _      gLmomgag                               114                         8;,S2S J
  ^Includes one project coming through HCIDLA V Land Development program. Requestfor Proposal (RFP) process, in the amount of
  $7,000,09!) (Council File No. 09-0420-31), subject to City Council and Mayor approval, as detailed in the attached HOW Santa Monica
  Blvd. StaffReport.


  MISSOURI PLA CE APARTMENTS
  The Missouri Place Apartments project was awarded a funding commitment from the Proposition KHH
  Permanent Supportive Housing Loan Program 2017-2018 Call For Projects Round 1, in an amount not to
  exceed $11,520,000. The HKH funding commitment was approved by the City Council and the Mayor
  under Council File No. 17-0090-S2 on February 16, 2018. Since that time, the developer has received an
  award of Section 8 Project-Based Vouchers from the Housing Authority of the City of Los Angeles
  (KACLA), and an award of bond allocation from the California Debt Limit Allocation Committee
  (CDLAC). CDLAC awarded an initial $18,750,000 in tax-exempt issuance authority and subsequently
  $4,687,500 in supplemental bond allocation and designated November 12, 2019 as the bond issuance
  deadline for the total allocated bond amount of $23,43 7,500. The developer would like to restructure the
  project, and is seeking approval of the revised financing plan detailed in this report.
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   As originally approved, the Missouri Place Apartments project, a 74-unit affordable housing development
   located at 11950 Missouri Avenue, Los Angeles, CA in Council District 11, was to house 36 low income
   femilies and 37 homeless and chronically homeless families. The total development cost was estimated to
   be $33.6 million. However, once final construction bids were received by the developer, Thomas Saffan
   & Associates (Developer), the cost increased by $10.9 million to $44.6 million. The high cost of this
   project can be attributed to many factors. First, the building was designed as a tall structure to maximize
   the number of units that could be built, which triggered commercial prevailing wages for the project,
   increasing the average hourly rates by 35% above residential wage scales. Second, the tall building height
   necessitates the use of Type III construction methods requiring stronger framing, fireproofing, and the use
   of a construction elevator. Additionally, at over 65 units, the project is subject to a Project Labor
   Agreement (PLA), which is a new requirement that had not been implemented at the time the application
   was submitted to HCIDLA.

   To fill the funding gap, the developer is proposing several financial mechanisms that do not include
   additional city funding. These include an additional bond allocation, setting aside seven more supportive
   housing units, obtaining additional housing vouchers for the additional supportive units, and increasing
   rents on most of the affordable units to the maximum amounts permitted under the tax code. These
   measures wifi help raise revenue and allow the project to support a higher permanent loan amount. The
   higher cost also generates more tax credits, which will enable the investor to contribute more equity. The
   Developer also requested additional funds from the Affordable Housing Program (AHP) sponsored by the
   Federal Home Loan Bank. Note, the City currently owns the site, but ownership will be transferred to the
   Developer via a 99-year ground lease, to be executed at construction loan closing.

   The Proposition HHH Regulations that were in place at the time of application in December 2017
   allowed affordable units to be restricted up to 60% Area Median Income (AMI). Section 2.4 of the
   regulations were subsequently updated in 2018 to be consistent with federal tax reform provisions, to
   allow affordable rent restrictions up to 80% AMI, so long as the average affordability of the project
   does not exceed 50% AML

   The higher rents on 28 of the units are still 29% to 44% below market rate for the area, depending on
   bedroom size. One affordable unit will continue to be restricted at 60% AMI, and the 44 supportive
   housing units will remain at 30% AML Analysis of the proposed changes to the budget and unit mix are
   contained in Tables 5 and 6, on the following pages.
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                               TABLE 5: MISSORI PLACE APARTMENTS UNIT MIX COMPARISON

                                                                    Missouri Place
                                                      Comparison ot Prior & Current Unit Mix
                                                                                                    i     Propose* O'vr ^ y
                        HHH Application Sec 2017                         •     Approved Unit Mix    |                              Cr.ifues
                                                                                                              Mav2Pt9      .
                                Restricted   Market      Discount            Approved       Total          Unit      Total
    AMI Level      Unit Size       Rent       Rent      to Market    3       Unit Count     Rent          Count      Rent
      30%        1 - Bedroom      $697       $2,636        7496                 22        $15,334          27      $16,819            5       t
      30%        2 - Bedroom      $837       $3,356        7596                 10        $8,370           12      $10,044            2
       30%       3 - Bedroom      $966       $4,529        7996                  5         $4,830           5       $4,830            0
       50%       1 - Bedroom     $1,162      $2,636        5696                  6         $6,972           0          $0            (6)
       5096      2 ■ Bedroom     $1,3?5      $3,356        58%                   3        $4,185            O          $0            (3)
       5096      3 - Bedroom     $3,611      $4,625        6596                  3         $4,833           0          $0            (3)
       60%       1 - Bedroom     $1,395      $2,536        47%                  12        $16,740                    $1,395          ill)
       60%       2 - Bedroom     $2,674      $3,356        50%                  6         $10,044           0          $0            (6)
       60%       3 - Bedroom     $1,933      $4,629        58%                   5        $11,598           0          $0            (G)
                 1 - Bedroom     $1,860      $2,635        29%                   0           $0             12       $22,320         12
      80%        2 - Bedroom     $2,232      $3,356        33%                   0          $0              17       $26,784         12
      80%        3 - Bedroom     $2,578      $4,625        44%                              $0              4        $10,312          4
     Manager                                                                                $0              1          $0             0
    Total Units                                                                 74                          74                        0
    Total Rental Revenue (Monthly)                                           $82,906                     $94,504                   $11,598
   jTotai Rental Revenue (Annual)                                            $994,872                   $1,134,046                 $139,176   z
   lAvjrahe Affordability ______                                              43.15%                      495996               J     6.44%    it

   Notes:
   1. Increased number ofSH unitsfrom 37 to 44.
   2. Reduced 60% AMI units and increased80%AMIunits to utilize “Income Averaging" allowed by 201?federal tax reform/TCAC, Change
       generates SI39K ofadditional annual revenue that can be leveragedfor additional debt to pay for increase hard costs due to PLA.
   3. Project is located in West Los Angeles. The discount to marketfor the 80% units is between 29% and 44% based on Market Study.
        CTCAC and HHII regulations allow 80% AMI rents as long as the average affordability does not exceed 50% across the project.
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                                    TABLE 6: MISSORI PLACE APARTMENTS BUDGET COMPARISON

                                                                        MisstwtiFIstce
                                                            CoKp<i:risp of Friar & Cmrreet Badgots
                                                                              CDLAC Safplemsta!                               VARIANCE
   USES                                                   HHH                           Abidins           CURRENT       (HUB t. CURRENT)
                                                                Dtc-17                      Mar-19          Mn.y-19

   AcqusiiKa                                          S          250,000      s           548*963     $      539,623    £           289.622
   New Conststicfon'RcImbEtetiera                     S        22769,945      I        31,095,819     l   31.562,156    8         9.392.13 3 1
   Relncdija                                          1                       I                       $                 1
   Atchiie statsl Fees                                8         1.205,650     t         1,160,650     £    1,160.650                (45.000)
    Survey £ Etifir-ssrieg                            4           259.560     £           361,450     J      361,450    S           101,890
   Crcistrijctioa InLcrcst £ Fees                     £         1,828,458     i         3.596,903     J    2,703,280    t           874,822 S
   PtsmmtsS RasMtag                                   5            84,003     S           130.000            136,750    £            52.750
   LegalFeis                                          $           140.000     5           175.000     t      295.(00    5            55.000
   Reserves                                           J           531.489     5           632.830     3      622.830    3            91,341
   ApptSKB1.                                          %             6,000     5              6.000    £        6,000    S
   Cootfcijeccy                                       j         2.604.194     3         2.426730      %    2.423.944    S          (130.250)
   Other Costs                                        T         1,942.425     3         2.306,434     8    2791.313     i           348.888
   Devdajjs' Fes                                      e         2,500,000     3         3,500,000     8    25(0,030     5
   TOTAL PROJECT COSTS                                s        33.67.1.721    £        44.730.992     S   44.602,396    J1        10.9S1.274


    T-9K.i! Remtal Rneus (Moetkly)
    Xoiai Rea(a) Reveue (Aaamal)

    Peas loan                                         i         ■FJOO.OOO     3         12,000,000    s   3:2,675.000    J         3,475,000 ®
   AKPFotB                                            I           730.000 1   S          t.095.003-   1    1,095,000     J           365.000 3
   FasfwsjlloaHHH                                     i        11320,000      I         1U203JOS      i   11.520,000'    $
    Ifeopustbon HHH - Stappiementd                    e                       3            340,000    8                  t.                    t
                                                                                                                                               «
    2. Es&>$edSG% AMI txiks sad nueased
    8016 f'Js'ii’ cafe to ntSie 'Idcocib Jtvmu&itf'
    sSewed by 2017 ft cferd te* tefeint / T GAC       1        13,143,667     &         18350,042     5   18301,484      J         5J57.il /
                   Fes                                £         1,028,054     £          1,435356     £    1,011513      &          (16,543?
    TOTAL gCHr&GES                                    %        33,821,731     $         44.730,992    S   44,682390               30381,274
   Notes;
   1. Cost increase due to escalation & adoption ofProject Labor Agreement in June 2018.
   2. Perm Loan increase from 80% AMI levels and 2019 rents.
   3. Appliedfor additional AHPfundsfrom the Federal Home Loan Bank           .
   4. Obtained commitmentfor additional tax credit equity from L/HTC investor (B ofA).
   5. Increase includes interest paid on HHH soft loan during the course ofconstruction.
   6. Needfor additional HHHfunds eliminated due to additional cost savings since supplemental CDLAC.




   ATTACHMENTS:

   Attachment A: 2018-19 HHH CFP Round 3 Project List
   Attachment B: Staff Reports - HCIDLA Recommended Projects
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                                             STAFF REPORT
                                           As of; August 20j 2819

                                               Hope on 6th
                                             576 W. 6th Street
                                          Los Angeles, CA 90731

                                             Now Construction
                                             Council District 15

    PROJECT DESCRIPTION

    Hope on 6th (project), located at 576 W, 6th Street in the San Pedro area, will be a supportive housing
    development consisting of 48 units for homeless individuals, homeless individuals with special needs,
    and homeless families, with one manager’s unit and 50 surface parking spaces. The site will be ground
    leased with the San Pedro United Methodist Church. The site is currently vacant but is being used as
    parking for die church, an auto body shop, and Harbor Community Clinic.

    The project will consist of 49 residential units, comprised of 15 studios units, 16 one-bedroom units,
    17 two-bedroom units, and one two-bedroom manager's unit. All residential units will include
    bathrooms and kitchens equipped with full sized appliances, window coverings, and will be furnished.
    The project amenities will include community room; management/services office space and outdoor
    courtyard; and an onsite health clinic designated to Harbor Community Clinic, which currently
    operates across the street from the site. The clinic will expand and increase capacity to serve not only
    the residents of Hope on 6th, but the San Pedro community at large.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be Hope on 6th, LP (to be formed), which consists of 10106th and Hope,
    LLC (to be formed) as Managing General Partner, VH South Bay, LLC as Administrative General
    Partner (to be formed), and an Investor Limited Partner (to be determined). Ownership structure will
    consist of the following:1 2 3

        1. 1010 6th and Hope, LLC as Managing General Partner to be formed (0.0051 %)
        2. VH South Bay LLC as Administrative General Partner to be formed (.0049%)
        3. Investor Limited Partner to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals, homeless individuals with mental
    illness and homeless families.
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    AFFORDABILITY STRUCTURE

           Unit Type     PSH        I Non-PSH | Mgrs.         Total      tw:           HHH
                        Total       (Affordable)'                        PSH          Non-
                                                                        Funded         PSH
     Studio             ..     15i                               IS i                 ........
     1 Bedroom                 16                                              16 s
                                               “1
    2 Bedroom                                 17         ll      18                          17
    3 Bedroom                                                                                    . ■
    Total                      31            17 !       t (      43         35,             17 j


    PERMANENT FUNDING SOURCES


                       Source                                     Amount

     HCIDLA - HHH PSH                                                           4.340.000
                                                                                                   I
     HCIDLA- HHJH Non PSH                                                       1.700.000 |
    (4%TCACEquity________                                                    10,398,301 j
    )---
    ‘Conventional/Bank Loan                                                     4.900.000 I
    iGP Equity                                                                    936,799
    i
    j County oUos Angeles - NPLH                                             J>,750,000

     Deferred Dev. Fee                                                            5SQ.271
     Total                                                                   28,615,371




    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total Jobs Supported, by category                  Construction Costs                                      1
                                                        'Direct Effect on Jobs Multiplier               0.000006;
     TDC                               $   28,615,371   ,# of Jobs Directly Supported                        164
     Land Acquisition                  $    1,207,285
     (cap.ground lease pnrrt)                           Indirect Effect on Jobs Multiplier             0.0000024:
                                                        .# of Jobs lndlrect[y Supported                       66
     Wet Development Costs             $   27,408,086
                                                        j Induced Effect on Jobs Multiplier            0.0000022
                                                        !# of Jobs Induced                                    60

                                                        {Total Jobs Supported by Project
                                                        I (excluding Cost of Land Acquisition only)
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,040,000 recommended. HHH funds represent
    $125,833 per unit and 21% of the total development cost. The total development cost per unit is
    $583,987. HHH handing is leveraged with 4% tax credit equity, GP equity, deferred developer fee,
    conventional bank loan, and County of Los Angeles-NPLH funds.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in April 2020, and anticipated to be completed by October
    2021.


    Prepared by: Los Angeles Housing + Community Investment Department
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                                              STAFF REPORT
                                            As of: August 16,2019

                                               Silver Star II
                                        6576-6694 S. West Boulevard
                                          Los Angeles, CA 90043

                                               New Construction
                                               Council District 8

    PROJECT DESCRIPTION

    Silver Star II (project), located at 6576-6604 S. West Boulevard, will be a supportive housing
    development for homeless individuals and families, as well as low income individuals, consisting of
    63 affordable units and one manager’s unit. There will be no tenant parking provided, per the Transit-
    Oriented Communities Ordinance (TOC), since the site is located in TOC tier 3. However, there will
    be bicycle parking racks. The site currently consists of two commercial structures that will be
    demolished, one of which is being used as a residence; therefore, relocation benefits will be provided
    to the resident that lives onsite.

    The project will consist of 64 residential units, comprised of 14 studio units, 29 one-bedroom units,
    20 two-bedroom units, and one three-bedroom manager’s unit. All residential units will include
    bathrooms and kitchens equipped with a stove and a refrigerator. 56 residential units will be furnished
    with a full size bed, night stand, chest of drawers, and a dining table with chairs. The proj ect amenities
    will include air conditioning, a community room with a shared kitchen, television lounge, computer
    lab, and laundry facilities on each floor. Offices for supportive service staff and private consultation
    rooms will be provided. Outdoor amenities include a shared rooftop patio, ground-level community
    area with seating, and children’s play area landscaped with drought-tolerant plants.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    A Community of Friends is the developer and will form a Limited Partnership. The Limited
    Partnership will consist of Supportive Housing LLC as Managing General Partner, with A
    Community of Friends as the Initial Limited Partner. Ownership structure will consist of the
    following:

        L Supportive Housing LLC as Managing General Partner (0.01%)
        2. A Community of Friends Initial Limited Partner (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals and
    families and low income individuals.
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   AFFORDABILITY STRUCTURE

      Unit Type         PSH         ] Non-PSH        Mgrs.        Total      HHH          HHH        {
                        Total       ((Affordable)                            PSH          Non*
                                                                            Funded        PSH
    Studio                      7               7                    14 ■           T            5
    1 Bedroom               29                                       29 I          29
    2 Bedroom               20                                       20             6-
    3 Bedroom                                    1           li       1
   Total                    56                 7 i         1         64         42              e r:


   PERMANENT FUNDING SOURCES

                     source                                           Amount

    HCIDLA-HHH PSH                                                                 5.880.000 i
   |HCIDLA - HHH Non PSH                                                                524,900 !
   14% TCAC Equity                                                                 5,134,634]

   SConventtonal/Bank Loan                                                         3.340.000 !
   ^GP Equity                                                                           100,000      j
   l LA County - NPLH                                                              7.644.398 '
   [Total                                             $                        26,623,932 [




   JOBS SUPPORTED

   The following table indicates die number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                      !Construction Costs
                                              _______ ! jpirect Effect^n Jobs Multiplier                      0.000006
    TDC                                $   26,623,932 j~ ft of Jobs Directly Supported                             145
    Land Acquisition                   $    2,400,000
                                                             IndirectEffect on Jobs Multiplier                0.0000024
                                                            # of Jobs Indirectly Supported                          58
    Net Development Costs              $   24,223,932
                                                             Induced Effect on Jobs Multiplier                0.0000022
                                                            ffof Jobs Induced                                       53

                                                            Total Jobs Supported by Project
                                                                                                         S'
                                                          ! (excluding Cost of Land Acquisition only)
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                                   #:8636

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    Round 3 HHH CFP 2018-19
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,404,900 is recommended. HHH funds represent
    $136,274 per unit and 24% of the total development cost. The total development cost per unit is
    $415,999. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, GF Equity,
    and County of Los Angeles NPLH funds.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in July 2020, and anticipated to be completed by December
    2021.


    Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:15310
                                   #:8637
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                                   #:8638


                                                     STAFF REPORT
                                                   As of: August 19,2019

                                                       Lorena Plaaa
                                                    3401 East l8t Street,
                                                   Los Angeles, CA 90063

                                                     New Construction
                                                     Council District 14

    PROJECT DESCRIPTION

    Lorena Plaza (project), located at 3401 East 1st Street, will be a ground lease with the Los Angeles
    County Metropolitan Transportation Authority (LACMTA). A Community ofFriends was selected
    to develop this vacant site through a Request for Proposals process with LACMTA. The project will
    consist of 49 residential units, comprised of 3 studios, 18 one-bedroom units, 20 two-bedroom units,
    7 three-bedroom units, and one three-bedroom manager’s unit. The project will serve homeless
    individuals and low-income families whose income range from 30% to 50% of the area median
    income.

    All residential units will include full bathrooms and kitchens equipped with full-sized appliances,
    linen closets, ceiling fans, and central air. Each supportive housing unit will be fully furnished with
    bed bug-resistant furniture. Additional amenities will include on-site laundry facilities, office space
    for supportive service staff, computer lab, bicycle storage, fitness center, and a community room with
    shared kitchen that extends to a seated outdoor terrace and barbecue area. There will also be a large
    interior courtyard with a play area for children mid additional outdoor seating.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    A Community of Friends is the developer and will form a Limited Partnership. The Limited
    Partnership will consist of Supportive Housing LLC as Managing General Partner with A Community
    ofFriends as the Initial Limited Partner. Ownership structure will consist of the following:

           1. Supportive Housing LLC as Managing General Partner (0.01%)
           2. A Community of Friends as Initial Limited Partner (99.99%)

    POPULATION SERVED
    The population served by the project will be homeless and chronically homeless individuals and low-
    income families.

    AFFORDABILITY STRUCTURE

    (     Unit Type   PSH          Non-PSH ; Mgrs.         Total       KHH       HHH j
                      Total      : (Affordable)                       PSH        Non- |
                                                                     Funded      PSH I
        Studio                ?1                               3             3
        1 Bedroom
        2 Bedroom
                            18
                            11
                                            4
                                            ,£i
                                                       I
                                                       i
                                                               18
                                                              20 j
                                                                            18        I


        3 Bedroom                             7j      1J       8i
        Total               32              16 |     ll       4S I      III         J
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                                  #:8639
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    PERMANENT FUNDING SOURCES

                     Source                                 Amount
      :
     HCIDLA    HHH PSH                                                 2,903,202
     HCIDLA-HHH Non PSH
    L--
    |4%TCACEquity_                                                     8,307,901
     Conventional Loan                                                 2,611,975
     CalHFA- MHSA                                                      1,200,000
     State HCD-MHP                                                     8,796,006
     LA Co, General Fund                                               2,000,000
     Total                                    S                      25,819,084


    JOBS SUPPORTED

    The following table indicates the number of jobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total Jobs Supported, by category            i IConstruction Costs
                                            _ ! i Pi reel Effect on Jobs Multiplier                  0.000006
                                                                                                i
     TDC      ___     _____     S   25,819,084 I |# of Jobs Directly Supported                            143
     Land Acquisition _____     $    2,030,000 j
     (cap, Gjund lease pmt)                        indirect Effect on Jobs Multiplier               0.0000024
                                                     of Jobs Indirectly Supported                          57
     Net Development Costs      $   23,789,084     i                                            i

                                                   i Induced Effect                             !   0,0000022
                                                   JflofJobs Induced                                      52

                                                   Toiai Jobs Supported by Project                       m
                                                    (excluding Cost of Land Acquisition only)


     FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $2,903,202 is recommended. HHH funds represent
     $138,248 per unit and 11% of the total development cost. The total development cost per unit is
     $526,920. HHH funding is leveraged with 4% tax credit equity, a conventional loan, CalHFA MHSA
     Los Angeles County General Funds and State Housing and Community Development-MHP funds.

     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in December 2020, and anticipated to be completed by
     June 2022.


     Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8640


                                             STAFF REPORT
                                           As of: August 19,2019

                                                The Mam
                                          15302 W. Rayen Street
                                          Los Angeles, CA 91343

                                             New Construction
                                             Council District 6

    PROJECT DESCRIPTION

    The Main (project), located at 15032 W, Rayen Steet in the North Hills area of San Fernando Valley,
    will be new construction of a four-story supportive housing development consisting of 62 affordable
    units for homeless transition-aged youth, homeless families, and low income families; with two
    manager’s units and subterranean parking for 50 cars and 70 bicycle parking stalls. The site is owned
    and operated by Penny Lane Centers as a youth residential substance abuse disorder treatment home,
    which planned to cease operations in April of 2019. Penny Lane will be the service provider on the
    project and has entered into a purchase and sale agreement with the developer, Abbey Road, Inc. The
    structures on the site will be demolished prior to construction.

    The project will consist of 64 residential units, comprised of 12 studios, 19 one-bedroom units, 20
    two-bedroom units, 11 three-bedroom units, one three-bedroom manager’s unit, and one one-
    bedroom unit for on-site maintenance staff. All residential units will include a full kitchen equipped
    with refrigerator, stove and garbage disposal and at least one accessible bathroom, coat closets in the
    common areas, central heat and air conditioning, and most will have a balcony or patio. Additional
    amenities include a community room, communal kitchen, interior courtyard and play area, laundry
    facilities, and landscaped open areas.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Abbey Road, Inc, is the developer and will form a Limited Partnership. The Limited Partnership will
    consist of Abbey Road, Inc. as the Managing General Partner, Ownership structure will consist of the
    following:1 2

        1. Abbey Road, Inc. as Managing General Partner (0,01 %)
        2. Limited Partner to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless transition age youth, homeless families and
    low-income families.
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                                   #:8641
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   AFFORDABILITY STRUCTURE

      Unit Type        PSH         ; Non-PSH             Mgrs.           Total !   HHH           HHH
                       Total       '.(Affordable)                                  PSH          Non-         i
                                                                                 i Funded       PSH      i
   Studio                  12      i                                        12           12f
                                                                                            (
                                                                                                             ,1
   1 Bedroom               15                      4!               1.      20           15!            4
    2 Bedroom                  4                  16 i                      20                        16.
   3 Bedroom                   2                   9;               1.      12            2!            2t
   Total                   33 !                  29             2           64        33              22 »

   PERMANENT FUNDING SOURCES

                     Source                                                  Amount
    HCIDLA-HHH PSH                                                                       4,174,588
                                                                                                                 I
    HCIDLA-HHH Non PSH                                                                   2, 20,412
    Accrued deferred Interest (HHH)                                                             54,117 I
   | LA County Housing Dev. Authority                                                    2,000,000           j
   (Accrued deferred Interest (LA. Co)                                                          89,659 I
    HCD-MHP                                                                           12,022/489
    AHP                                                                                     960,000
    4% TCAC Equity                                                                    14,259,58?
   iGP Capita! Contribution/Equity                                                       2,064,182
   I Conventional/Bank Loan                                                              2,333,000
    GP Equity                                                                                      100
    Deferred Developer Fee                                                            ...... 410,535
   Total                                                  <*                          41,018,669
                                                         L_T


   JOBS SUPPORTED

   The following table indicates the number of jobs supported through the construction financing of this
   project. These may be new or existing jobs.


    Total Jobs Supported, by category                               Construction Costs
                                       ^____                    1 Direct Effect on Jobs Multiplier                    0.000006
    TDC                                I $     41,018,669           # of Jobs Directly Supported                          229
    Land Acquisition                   !_$___ 2,375,000
                                                                Undirect Effect on Jobs Multiplier                   0.0000024
                                                                !# of Jobs Indirectly Supported                            9z
    Net Development Costs               $      38,143.669
                                                                    Induced Effect on Jobs Multiplier                0.0000022
                                                                1# of Jobs Induced                                         84
                                                               i.
                                                                [Total Jobs Supported by Project                          m
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                                   #:8642

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    Round 3 HHH CFP 2018-19
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,795,000 is recommended. HHH funds represent
    $123,545 per unit and 17% of the total development cost. The total development cost per unit is
    $640,917. HHH funding is leveraged with 4% tax credit equity, Los Angeles County Housing
    Development Authority funds, State HCD MHP funds, Affordable Housing Program Funds, and a
    conventional bank loan.

     CONSTRUCTION TIMELINE

    Construction is currently estimated to start in March 2021, and anticipated to be completed by
    December 2022.


     Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8643
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                                   #:8644


                                             STAFF REPORT
                                           As of; August 19,2019
                                                 The Rigby

                                          15314 W. Rayen Street
                                          Los Angeles, CA 91343

                                             New Construction
                                             Council District 6

    PROJECT DESCRIPTION

    The Rigby (project), located at 15134 W. Rayen Steet in the North Hills area of San Fernando Valley,
    will be new construction of a four-story supportive housing development consisting of 62 affordable
    units for homeless transition-aged youth, homeless families, and low income families; with two
    manager’s units and subterranean parking for 50 cars and 64 bicycle parking stalls, The site is owned
    by Penny Lane, who is currently leasing two structures to a LAUSD charter school that will he
    demolished; therefore, relocation benefits will be provided. Penny Lane will be the service provider
    on the project and has entered into a purchase and sale agreement with the developer, Abbey Road,
    Inc.

    The project will consist of 62 residential units, comprised of 12 studios, 19 one-bedroom units, 20
    two-bedroom units, 11 three-bedroom units, plus one three-bedroom manager’s unit, and one one-
    bedroom unit for on-site maintenance staff. All residential units will include a Ml kitchen equipped
    with refrigerator, stove, and garbage disposal and at least one accessible bathroom, coat closets in the
    common areas, central heat and air conditioning, and most will have a balcony or patio. Additional
    amenities include a community room, communal kitchen, interior courtyard and play area, laundry
    facilities and landscaped open areas.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Abbey Road, Inc. is the developer and will form a Limited Partnership. The Limited Partnership will
    consist of Abbey Road, Inc. as Managing General Partner, The ownership structure will consist of the
    following:1 2

        1. Abbey Road, Inc., as Managing General Partner (0.01%)
        2. Limited Partner to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless transition age youth, homeless families and
    low income families.
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                                  #:15318
                                   #:8645
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   AFFORDABILITY STRUCTURE
                                                    I
     Unit Type         PSH         i Non-PSH            Mgrs.        Total        HHH            HHH     ;
                                                                                                             i
                       Total       [(Afford able)                                 PSH            Non- j
                                                                                 Funded           PSH
                   i
   Studio                    12                                         12   i          12   .


   1 Bedroom                 15                   4l            I,    __20 :            15j             4
   2 Bedroom                   4                 16!                    20 j             41             16
   3 Bedroom                   2               91               l!      12 j             21             2i
   Total                   33                29                 2       64 !         33                22

   PERMANENT FUNDING SOURCES

                       Source                                            Amount

   jHGDLA- HHH PSH                                                                  _4,174,588 ,
   IHCIDLA- HHH Non PSH                                                                 2,620,412 8
   !Accrued deferred Interest (HHH)                     i                                        64,118 '
   ■ LA County Housing Dev. Authority                                                   2,000,000 j
   Accrued deferred Interest (LA. Co)                                                            83,655
   HCD - MHP                                                                         12,561,955 1
   [AHP                                                                                      560,000
   4% TCAC Equity                          ___                                       14,570,135              j
   :GP Capital Contribution/Equity                                                      2,163,581 ‘
   j Convent! o na I/Bank Loa n                                                         2,311,000 s
   [gP Equity                                                                                       100
    Deferred Developer Fee
   Total                                                    $                        41,570,484


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                           'Construction Costs_________
                                                      I ! Direct Effect on Jobs Multiplier                            0,000036
    TDC                                $   41,970,484 _ #of Jobs Directly Supported                                       235:
    Land Acquisition                   S    2,875,000
                                                          Indirect Effecton Jobs Multiplier                          0.0000324
                                                          # of Jobs Indirectly Supported                                   94
    Net Development Costs            j $   39,095,484
                                                                 Induced Effect on Jobs Multi oiler                  0.0000022
                                                                I# of Jobs Induced                                          86
                                                                                                                 r
                                                                iTotal Jobs Supported by Project                          4M
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                                   #:8646

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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,795,000 is recommended. HHH funds represent
    $123,545 per unit and 16% of the total development cost. The total development cost per unit is
    $655,789. HHH funding is leveraged with 4% tax credit equity, GP equity, Los Angeles County HDA
    funds, State HCD-MHP funds, Affordable Housing Program Funds, Deferred developer fees, accrued
    deferred interest and a conventional bank loan.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in August 2020, and anticipated to be completed by May
    2022,


    Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8647                                         h
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                                  #:15321
                                   #:8648


                                            STAFF REPORT
                                          As of: August 16,2019

                                            Cliavez & Fickett
                                         338 N. Mathews Street
                                         Los Angeles, CA 90033

                                           New Construction
                                           Council District 14

    PRO JECT DESCRIPTION

    Chavez & Fickett (project), located at 338 N. Mathews Street, will be a 60-unit supportive housing
    development consisting of 59 affordable units for homeless individuals and families and low income
    families and one manager’s unit. This mixed-use development will also include a market and park
    which will be financed separately with New Market Tax Credits. There will be ample parking spaces
    for residents proposed at 20 underground and 11 on-grade parking spaces as well as bicycle parking,
    and, for the market there will be 30 underground parking spaces and 20 on- grade parking spaces. The
    site will be ground-leased with the Los Angeles County Metropolitan Transportation Authority
    (LACMTA) and is vacant; therefore, there will be no demolition of structures and no relocation
    benefits required. The site is located 0.03 miles from the Metro Gold line station and bus stops.

    The project will consist of 60 residential units, comprised of 20 one-bedroom units, 24 two-bedroom
    units, 15 three-bedroom units, and one two-bedroom manager’s unit. Ail units will have full
    bathrooms and kitchens equipped with full-sized appliances, including a stove, dishwasher, and
    refrigerator; and will have central heating and cooling. Additional, amenities will include onsite
    laundry facilities, community room, and management/services office space. Outdoor amenities will
    consist of landscaped courtyards, community gardens, outdoor dining space, and children’s play area.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Abode Communities is the developer and will form a Limited Partnership. The Limited Partnership
    will consist of Chavez & Fickett GP, LLC as the Managing General Partner. The ownership structure
    will consist of the following:1 2

       1. Chavez Fickett GP, LLC as Managing General Partner (0.01%)
       2. Limited Partner, yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals and families and low income
    families.
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                                  #:15322
                                   #:8649
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   AFFORDABILITY STRUCTURE

      Unit Type      PSH      ‘ Non-PSH i fvigrs.                 Total     HHH          HHH     |
                                                                                                         !
                     Total    ({Affordable);                                PSH          Non-        !
                                                                          Funded          PSH
    Studio
    1 Bedroom              20                                        20           20;
    2 Bedroom              10 I              14!             1.      25           10*           14i
    3 Bedroom                                15;                     15                          7<
    Total                30                 23              i_l      SO        30 | _ 21 1

   PERMANENT FUNDING SOURCES

   'HCIDLA- HHH PSH
                                                   i                              4.200.000 i
    HCIDLA- HHH Non PSH                                                             .
                                                                                  2 100.000
    496TCAC Equity                                                              14,553,383 i
    Conventionai/Bank Loan                                                       2,658,000 |
    State HCD-MHP                                                               13,017,785 |
    FHLB-AHP                                                                       720.000 i
   iGP Equity
                                                   +
                                                                                 2,145,087 j
   |Metro Land Discount                                                            916.000 1i
   |Deferred Developer Fee                                                              494,711 |

    Accrued Deferred Interest

   Total                                               $                        41,186,592
   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                      I i Construction Costs
                                                            . Direct Effect on Jobs Mujti oli er                    0.000006
    TDC         _____                 $   41,186,592         # of Jobs Directly Supported                               229
    Land Acquisition                  $    3,060,000 ,                     ______
    (cap^ground lease port.                                  Indirect Effect on Jobs Multiplier                  r 0.0000024
                                                            Iff of Jobs Indirectly Supported                 _           92
    Net Development Costs             $   38,126,592
                                  i                          Induced Effect on Jobs Multiplier                     0,0000022
                                                             # of Jobs Induced                                            84

                                                           . jTotal Jobs Supported by Project
                                                            ({excluding Cost of Land Acquisition only) j
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                                   #:8650
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,300,000 is recommended. HHH funds represent
    $123,529 per unit and 15% of the total development cost. The total development cost per unit is
    $686,443. HHH funding is leveraged with 4% tax credit equity, a conventional loan, GP Equity,
    Federal Home Loan Bank Affordable Housing Program funds, State Housing and Community
    Development MHP funds, Metro Land Discount, Deferred Developer fee, and Accrued Deferred
    Interest.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in January 2022, and anticipated to be completed by
    October 2023.


    Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8651
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                                  #:8652


                                            STAFF REPORT
                                          As of: August 16,2019

                                           Hope on Hyde Park
                                       6501 S. Crenshaw Boulevard,
                                          Los Angeles, CA 90043

                                             New Construction
                                             Council District 8

    PROJECT DESCRIPTION

    Hope on Hyde Park (project), located at 6501 S. Crenshaw Boulevard, will be a mixed-use supportive
    housing development consisting of 97 affordable units and one manager’s unit with a 2,500 square
    foot retail space. The project will be built as a Type IIB structure with a concrete podium with four
    residential floors above utilizing a steel modular system. The site currently consists of three
    commercial structures that will be demolished; relocation benefits will be provided to the
    church/tenant that is occupying the three structures.

    The project will consist of 98 residential units, comprised of 74 studio units, 23 one-bedroom units,
    and a one-bedroom manager’s unit that will be located on the ground floor. All residential units will
    be on floors two through five and will include full bathrooms and kitchens equipped with a stove,
    refrigerator, and microwave oven. All units will be furnished with a bed, night stand, lamp, and small
    kitchen table with two chairs. The project amenities will include secured access, laundry facility,
    community room, and roof deck. The ground floor will have four private offices for dedicated case
    management, conference rooms, a recreation room, and lobby. Open and recreational space will be
    provided primarily on the second floor courtyard.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be Hope on Hyde Park, LP (to be formed), which consists of CHAPA
    (or its affiliate) as Managing General Partner, Aedis Hyde Park AGP as Administrative General
    Partner, and R4 Capital as the Limited Partner. Ownership structure will consist of the following:1 2 3

       1. CHAPA or affiliate as Managing General Partner (0.0051 %)
       2. Aedis Hyde Park AGP, LLC as Administrative General Partner (.0049%)
       3. R4 Capital as Limited Partner (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals.
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   AFFORDABILITY STRUCTURE

      Unit Type         PSH     ! Non-PSH       Mgrs.       Total     HHH        HHH
                       Total    '{Affordable)                         PSH        Non-    ‘
                                                                     Funded      PSH     ‘
    Studio                 74                                   74          67
    1 Bedroom              23 I                         1       24
    2 Bedroom
    3 Bedroom
    Total                  87 ,                        1I      98        67 !
   PERMANENT FUNDING SOURCES

                     Source                                     Amount
    HCIDLA- HHH PSH                                                         3,280,000
    HCIDLA-HHH Non PSH

   .4% TCAC Equity                                                       13,396,885
    Conventional/Bank Loan                                               16,740,000 )
   'GP Equity

   (Deferred Dev. Fee                                                       676,449
   'Total                                         $                      40,093,334
   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                 . [Construction Costs
                                                       I Direct Effect on Jobs Multiplier            0.000006
    TDC                           h$   40,093,334      I# of Jobs Directly Supported                      220
    Land Acquisition               $    3,500, (XX)
                                                        Indirect Effect on Jobs Multiplier       i 0.0000024
                                                        # of Jobs Indirectly Supported
    Net Development Costs          $   36,593,334
                                                      ■ Induced Effecton Jobs Multiplier             0.0000022!
                                                       !#of Jobs induced                         T          81


                                                        Total Jobs Supported by Project
                                                      I (excluding Cost of Land Acquisition only);


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $9,280,000 is recommended- HHH funds represent
   $138,507 per unit and 23% of the total development cost. The total development cost per unit is
   $409,116. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.
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                                  #:15327
                                   #:8654

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     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in October 2019, and anticipated to be completed by
     September 2020,


     Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:15328
                                   #:8655
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                                                      STAFF REPORT
                                                    As of: August 16, 2019

                                                     Hope on Broadway
                                                     5138 S. Broadway
                                                   Los Angeles, CA 90037

                                                         New Construction
                                                         Council District 9

    PROJECT DESCRIPTION

    Hope on Broadway (project), located at 513 8 S. Broadway, will be a supportive housing development
    consisting of 48 affordable units for homeless and chronically homeless individuals, one manager’s
    unit, and bicycle storage. The project will be built as a Type UB structure with a concrete podium and
    three residential floors above utilizing a steel modular system. The site is currently improved with a
    commercial structure occupied by one tenant, which will be demolished; therefore, relocation benefits
    will be provided.

    The project will consist of 49 residential units, comprised of 48 studio units and a one-bedroom
    manager’s unit. All residential units will include full ADA adaptable bathrooms with grab bars and
    kitchens equipped with a stove, refrigerator, and microwave oven. All units will be furnished with a
    bed, night stand and lamp, small kitchen table with two chairs, and a ceiling fan. Additional amenities
    will include secure access, laundry facility, community room, a mail room, office space for case
    management/services, conference rooms, a recreation room, and a lobby. Outdoor amenities will be
    an open recreational space, roof deck on the fourth floor, and a courtyard on the second floor.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The Hope on Broadway Limited Partnership will consist of a Community Housing Program Inc.
    (CHAPA), affiliate as Managing General Partner, Aedis Broadway AGP, LLC as Administrative
    General Partner with R4 Capital as Limited Partner. Ownership structure will consist of the following:1 2 3

        1. CHAPA affiliate as Managing General Partner (0.0051 %)
        2. Aedis Broadway AGP, LLC as Administrative General Partner (.0049%)
        3. R4 Capital as Limited Partner (99.99%)

    P OPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals.

    AFFORDABILITY STRUCTURE

       Unit Type    PSH       : Non-PSH          Mgrs.       Total        HHH         HHH
                    Total         (Affordable)                            PSH         Non-
                                                                         Funded       PSH    j
                              t                                                               '
     Studio             48                                      48 I            48:          ;l
     1 Bedroom                                           1           1
     2 Bedroom                I
     3 Bedroom
     Total              4fi                  ■t~     1          49           48
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   Round 3 HHH CFP 2018-J 9
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   PERMANENT FUNDING SOURCES

                       Source                              Amount

   HCIDLA- HHH PSH                                                      6,720,000
   HCIDLA-HHH Non PSH

   4% TCAC Equity                                                       7,980,816
   Conventional/Bank Loan                                               6300,000
   Deferred Developer Fee                                               1,161,752

   Total                                     $                         22,162,568

   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   (Total Jobs Supported, by category            I Constru cti oncosts
                                                   Direct Effect on Jobs Multiplier            0.000006
   TDC                          $   22,162,568   !#of Jobs Directly Supported                       124
   Land Acquisi tion            $    1,500,00011                   ~
                                                   Indirect Effect on Jobs Multiplier          0.0000024
                                                   # of Jobs Indirectly Supported                    50
   Net Development Costs        $   20,662,568
                                                   Induced Effect on Jobs Multiplier           0.0000022
                                                   # of Jobs Induced                                 45


                                                   Total Jobs Supported by Project                  215
                                                   {excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $6,720,000 is recommended. HHH funds represent
   $140,000 per unit and 30% of the total development cost The total development cost per unit is
   $452,297. HHH funding is leveraged with 4% tax credit equity, and a conventional loan and deferred
   developer fees.

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in October 2019, and anticipated to be completed by
   September 2020.




   Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8658


                                              STAFF REPORT
                                            As of: August 16,2019

                                          Topanga Apartments
                                 10243 North Topanga Canyon Boulevard
                                         Los Angeles, CA 91311

                                              New Construction
                                              Council District 12

    PROJECT DESCRIPTION

    Topanga Apartments (project), located at 10243 N. Topanga Canyon Boulevard in Chatsworth, will
    be a supportive housing development consisting of 63 affordable units for homeless and chronically
    homeless individuals and one manager’s unit. Five surface parking stalls will be provided, with one
    handicapped parking stall. The site currently consists of an auto sales lot and two automotive garages
    that are owner-occupied; therefore, the appropriate acquisition and relocation regulations will be
    followed if required.

    rfhe project will consist of 64 residential units, comprised of 63 studio units and one two-bedroom
    manager’s unit. All residential units will include full bathrooms and kitchens equipped with stove,
    refrigerator, microwave oven, and garbage disposal. Units will be furnished with a bed, dining table
    with chairs, and a sofa. The project amenities will include a community room, computer lab, laundry
    facility, and bicycle storage with work spaces allocated for residents to service their bikes. There will
    he private secure office space for case managers and/or supportive service staff. Additional outdoor
    amenities will include a 3,855 square foot rooftop terrace with lounge areas, raised planters, and trees
    for shade -providing an enjoyable setting to relax outside - and a small garden will be featured to
    cultivate herbs and vegetables.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Affirmed Housing Group, Inc. is the developer and will form a Limited Partnership. The Limited
    Partnership will consist of James Silverwood as Administrative General Partner, with Affirmed
    Housing Group Inc. as Managing General Partner. Ownership structure will consist of the following:1 2 3

        1. James Silverwood as Administrative General Partner (0.9%)
        2. Affirmed Housing Group, Inc. as Managing General Partner (0.1 %)
        3. Limited Partner, yet to be determined (99%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals.
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   AFFORDABILITY STRUCTURE

     Uni* Type         PSH      I Non-PSH | Mgrs.                    Total      HHH       HHH
                       Total    j (Afford able)                                 PSH       Non-
                                                                               Funded     PSH
   Studio                  S3                                           63         60
    1 Bedroom                                                    I
   2 Bedroom                                                 1           1
   3 Bedroom
   Total                   63   r                                       64 i       SO

   PERMANENT FUNDING SOURCES

                    Source                                               Amount
   jHClDLA- HHH PSH
    HCIDLA-HHH Non PSH                                                                           -1
   4% TCAC Equity                                                                  10/408,450
   ‘Tranche B (Sec. 8 Loan)                                                           5,703,028
   (State HCD-SHMHP                                                                   4.215.660 j
   Total                                             $                             28,617,933


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Sup ported, by category                    ! Construction Costs
                                                             Direct Effect on Jobs Multi gM a r           O.OOCOCS61
    TDC           __                    $   28,617,938       # of Jobs Directly Supported                      163'
    Land Acquisition                    $___ 1,500,000
                                    r
                                                         . Indirect Effect on Jobs Multiplier            0.0000024
                                                             # of Jobs Indirectly Supported                      §5i
    Net Development Costs               $   27,117,938   j
                                                             Induced Effect on Jobs Multiplier _         0.0000022;
                                                             # of Jobs induced                                  60

                                                             Total Jobs Supported by Project_________          m
                                                             (excluding Cost of Land Acquisition only)          \

   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $8,290,800 is recommended. HHH funds represent
   $138,180 per unit and 29% of the total development cost. The total development cost per unit is
   $447,155. HHH funding is leveraged with 4% tax credit equity, a Tranche B Loan, GP Equity, State
   Housing and Community Development SHMHP funds.
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                                  #:15333
                                   #:8660

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    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in February 2021, and anticipated to be completed by
    August 2022,


    Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:15334
                                   #:8661
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                                  #:15335
                                   #:8662


                                            STAFF REPORT
                                          As of: August 16,2019

                                            Barry Apartments
                                          2454 S. Barry Avenue,
                                          Los Angeles, CA 90064

                                            New Construction
                                            Council District 11

    PROJECT DESCRIPTION

    Barry Apartments (project) is located at 2454 South Barry Avenue in West Los Angeles, and will be
    a supportive housing development consisting of 60 affordable units for homeless and low income
    individuals and families whose income range from 30% to 60% of the area median income; and one
    manager’s unit. The site is improved with an eight-unit market rate multi-family property consisting
    of two triplexes and one duplex. Seven households will be permanently displaced; therefore,
    relocation benefits will be provided. Twelve parking stalls will be provided in a grade-level parking
    garage with one van-compliant accessible stall.

    The project will consist of 61 residential units, comprised of 32 studio units, 17 one-bedroom units,
    9 two-bedroom units, two three-bedroom units, and one three-bedroom manager’s unit. All
    residential units will have full bathrooms and kitchens equipped with a stove, refrigerator, microwave
    oven, and garbage disposal. All units will be furnished with abed, dining table with chairs, and sofa.
    The project amenities will include laundry facility, mail room, case managers/social service offices,
    community room, media area, and a shared kitchen on the ground floor. Additional outdoor amenities
    will be a courtyard (over 2,200 square feet), landscaping, and barbecue areas on the second level.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Affirmed Housing Group, Inc. is the developer and will form a Limited Partnership. The Limited
    Partnership will consist of James Silverwood as Administrative General Partner, with Affirmed
    Housing Group Inc., as Managing General Partner. Ownership structure will consist of the following:1 2 3

       1. James Silverwood as Administrative General Partner (0.9%)
       2. Affirmed Housing Group, Inc. as Managing General Partner (0.1 %)
       3. Limited Partner, yet to be determined (99%)

    POPULATION SERVED

    The population served by the project will be homeless, chronically homeless individuals, and low-
    income individuals and families.
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                                  #:15336
                                   #:8663
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   AFFORDABILITY STRUCTURE

      Unit Type        PSH           Non-PSH          Mt;rs.      Total          HHH         HHH         i
                       Total       | (Affordable) |                              PSH         Non-
                                                                                Funded       PSH
    studio                   32                                       32               32
    1 Bedroom                  2               15 s                   17                2'         15j
    2 Bedroom                                   9                      9                            7;
    3 Bedroom                                   2i          1,          3
    Total                  34                 26           i!         61    i       34 (       27


   PERMANENT FUNDING SOURCES

                      Source                                           Amount

    HCIDLA- HHH PSH                                                                    4,474,400 .
    HCIDLA-HHH Non PSH                                                                 2/444,000 j
   |4%TCAC Equity                                                                  12,909,486        I
   jTranche B (Sec. 8 Loan)                                                            4,407,130
   [State HCD - MHP                                   r                             .7.537.343
   |Total          ____                                                            Bl,9323Sfl!


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These maybe new or existing jobs.

    Toiai Jobs Supported, by category                    i jConstmction Costs
                                                           [Direct Effect on Jobs Multiplier                 .   0.000006
    TDC                                $   31,932,359      # of Jobs Directly Supported                               166
    Land Acquisition                   $    4,200,000
                                                           . Indirect Effect on Jobs Multiplier                  0.0000024
                                                           # of Jobs Indirectly Supported                              67
    Net Development Costs              $   27,732,359
                                                           .Induced Effect on Jobs Multiplier                    0.0000022
                                                            #of Jobs Induced                                           61

                                                           'Total Jobs Supported by Project
                                                               (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $6,918,400 is recommended. HHH funds represent
   $123,543 per unit and 22% of the total development cost. The total development cost per unit is
   $523,481. HHH funding is leveraged with 4% tax credit equity, a Tranche B Loan, GP Equity, State
   Housing and Community Development MHP funds.
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                                   #:8664

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     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in March 2021, and anticipated to be completed by
     September 2022.


     Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:15338
                                   #:8665
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                                             STAFF REPORT
                                           As of: August 19,2019

                                          2745-2759 Francis Ave
                                        2745- 2759 Francis Avenue
                                         Los Angeles, CA 9000S

                                             New Construction
                                             Council District 1

    PROJECT DESCRIPTION

    2745-2759 Francis Ave (project), located in Koreatown at 2745-2759 Frances Avenue, will be a
    supportive housing development consisting of 63 affordable units for homeless senior citizens and
    one manager’s unit with tuck-under parking. The site currently consists of three duplexes that will be
    demolished; therefore, one household will be provided relocation benefits. It is less than a half mile
    from the Wilshire/Vermont Metro Red Line Station.

    The project will consist of 64 residential units, comprised of 63 one-bedroom units and one two-
    bedroom manager’s unit. All residential units will include a kitchen with stove and refrigerator.
    Project amenities will include community activity spaces including computer lab with internet access,
    office spaces to implement supportive services, conference/craft rooms, gym, laundry facility,
    outdoor open space, and walking areas.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be a limited partnership that will consist of Affordable Housing CDC,
    Inc. as Administrative Managing General Partner, with Koreatown Youth & Community Center as
    Managing General Partner. The Limited Partner has not yet been determined. Ownership structure
    will consist of the following:1 2 3

        1. Affordable Housing CDC, Inc. (0.049%)
        2. Korean Youth & Community Center, Inc., (0.051 % total)
        3. Limited Partner, yet to be determined (99.90%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless senior citizens.
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                                   #:8667
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    AFFORDABILITY STRUCTURE

    I     Unit Type         PSH          Non-PSH       Nlgrs.           Total        HHH          HHH    i5
                        Total          {Affordable}:                                  PSH         Non-   i
                                                                                    Funded         PSH
        Studio
        1 Bedroom           .     63                                       63               48
        2 Bedroom                                               1               1
        3 Bedroom                                            i
        Total                     S3                        1I             64            48
                                                                                       -ift*




    PERMANENT FUNDING SOURCES

                                Source                                              Amount
                                                                S
        HCIDLA- HHH PSH                                                                     6,610,000
    [4%TCAC Equity ________________ ___ JL                                                  8,924,163
    TACounty Hsg. Dev. Authority - NPLH                                                     5,234,268
     IA CountyJjsg^Dew Authority                                                               5,000,000
    rr
     Convent! ona i/Bank Loa n                                                                 4,525,228 1
        GP Equity                 ___                                                            382,347     J
        Deferred Developer Fee                                                                   175.800
        (Tefal                                                      $                   30,851,806



        JOBS SUPPORTED

        The following table indicates the number ofjobs supported through the construction financing of this
        project. These may be new or existing jobs.

        Total Jobs Supported, by category                           Construction Costs
                                                                    Direct Effect on Jobs Multiplier              0.000006
        TDC                                $    30,851,806 ! # of Jobs Directly Supported                              149
         Land Acquisition                  $    6,000,000
                                                                    Indirect Effect on Jobs Multiplier            0.0000024
                                                                    # of Jobs indirectly Supported                      50
         Net Development Costs             $     24,851,806
                                                                    Induced Effect on Jobs Multiplier             0.0000022
                                                                    #of Jobs induced                                     55

                                                                    (Total Jobs Supported by Project
                                                                    ■ (excluding Cost of Land Acquisition only}
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    Round 3 HHH CFP 2018-19
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to S6,610,000 is recommended. HHH funds represent
    $137,708 per unit and 21% of the total development cost (TDC). The TDC per unit is $482,059. HHH
    funding is leveraged with 4% tax credit equity, GP equity, County of Los Angeles NPLH funds, other
    County funds, and a conventional bank loan.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in September 2020, and anticipated to be completed by
    January 2022.


    Prepared by: Los Angeles Housing + Community Investment Department
Case 2:12-cv-00551-FMO-PJW
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                                   #:8669
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                                                       STAFF REPORT
                                                     As of: August 19,2019

                                                    537-541 N. Western Ave
                                                    541 N. Western Avenue
                                                    Los Angeles, CA 90004

                                                           New Construction
                                                           Council District 4

        PROJECT DESCRIPTION

        537-541 N. Western Ave (project), located in Koreatown at 537-541 N. Western Avenue, will be a
        supportive housing development consisting of 63 affordable units and one manager’s unit with 17 on-
        grade parking spaces. The site currently consists of two vacant commercial structures that will be
        demolished; relocation benefits will not apply, since the structures are vacant.

        The project will consist of 64 residential units, comprised of 27 studio units, 36 one-bedroom units
        and one two-bedroom manager’s unit. All residential units will include a kitchen with stove and
        refrigerator. Project amenities will include a laundry facility, common space on the ground level of
        approximately 3,553 square feet to be used for case management offices, supportive service provider
        areas, and communal gathering/activity spaces. The second floor will feature a 3,124 square foot
        central courtyard that opens to the sky.

        BORROWER AND PROPOSED OWNERSHIP STRUCTURE

        The ownership structure will be a limited partnership which will consist of Affordable Housing CDC, Inc. as
        Administrative Managing General Partner, with Koreatown Youth & Community Center., as Managing
        General Partner. The Limited Partner has not yet been determined. Ownership structure will consist of the
        following:                                                                  .

             1. Affordable Housing CBC, Inc. (0.049%)
             2. Korean Youth & Community Center, Inc., (0.051% total)
             3. Limited Partner, yet to be determined (99.90%)

        POPULATION SERVED
!
        The population served by the project will be homeless individuals,

        AFFORDABILITY STRUCTURE

           Uriit Type    PSH         Non-PSH       Mgrs.       Total        HHH        HHH
                        Total       (Affordable)                            PSH        Non-
                                                                           Funrieti    PSH
        j Studio               27                                 27              27
         1 Bedroom             35                                 36              21
         2 Bedroom                                         1           1
        3 Bedroom
        Total                  63                      1          64            48
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                                  #:15344
                                   #:8671
    StaffReport: 537-54J N. Western Ave
    Round 3 HHH CFP 2018-19
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    PERMANENT FUNDING SOURCES

                      Source                           Amount
     HCIDIA- HHH PSH                                             6,614,11ft
     HCIDLA- HHH Non PSH
     4%TCAC Equity                                               9,026,961
     Tranche B (Sec. 8 Loan)                                     4,406,077
     GP Equity                                                     416,548
     Deferred Dev. Fee                                             119,637
     County - NPLH                                               5,414,760
     County - Funds                                              5,000,000
     Total                                 i                    30.997.101


    JOBS SUPPORTED

    The following table indicates the number of jobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total iobs Supported, by category           Construction Costs
                                                                                                     1
                                                 Direct Effect on Jobs Multiplier            0.000006
     TDC                        $   30,997,101   #of Jobs Directly Supported                      150
     Land Acquisition           $    6,000,000
                                                 Indirect Effect on Jobs Multiplier          0.0000024
                                                 # of Jobs Indirectly Supported                    60
     Net Development Costs      $   24,997,101
                                                 Induced Effect on Jobs Multiplier           0.0000022
                                                 # of Jobs Induced                                  55

                                                 Total Jobs Supported by Project                  m
                                                 (excluding Cost of land Acquisition only)


    FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $6,614,118 is recommended. HHH funds represent
     $137,794 per unit and 21% of the total development cost. The total development cost per unit is
     $484,330. HHH funding is leveraged with 4% tax credit equity, a Tranche B loan, GP Equity, Los
     Angeles County NPLH funds and other County funds.

     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in September 2020, and anticipated to be completed by
     March 2022.


     Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:8672


                                              STAFF REPORT
                                            As of: August 16,2019

                                               841 N. Banning
                                          841 N. Banning Boulevard
                                           Los Angeles, CA 90744

                                                 New Construction
                                                 Council District 15

    PROJECT DESCRIPTION

    841 N. Banning (project), located at 841 N, Banning Boulevard in Wilmington, will be a supportive
    housing development consisting of 63 units and one manager’s unit for homeless and chronically
    homeless individuals. The site is currently a three-parcel vacant lot; therefore, no demolition is
    required. The site is unimproved, but there is a capped and abandoned petroleum pipe that has been
    budgeted for removal in the construction budget. The Phase II environmental review did not
    recommend further remediation, even though in the past the referenced pipe had been used to store
    equipment for petroleum extraction.

    The project will consist of 64 residential units, comprised of 63 one-bedroom units and one two-
    bedroom manager’s unit. All residential units will have full bathrooms; kitchens equipped with full
    sized appliances including stove, microwave oven, and refrigerator; queen sized bed with mattress,
    nightstand; dining table with two chairs; and a sofa. Amenities will include a large community room,
    communal kitchen, a lounge, and case management/services offices.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The 841 Banning Limited Partnership is yet to be formed and will consist of 841 Banning LLC as
    Managing General Partner, with a yet to-be-determined Limited Partner. Ownership structure will
    consist of the following:

        1. 841 Banning LLC as Managing General Partner to be formed (0.01 %)
        2. Limited Partner, yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals.

    AFFORDABILITY STRUCTURE

       Unit Type    PSH     ■ Non-PSH \. Mgrs.        Total           HHH        HHH   '
                   Total    ! (Affordable)!                       1   PSH        Non- |
                                                                  |Funded I      PSH
     Studio
     1 Bedroom         63                                63                 58
     2 Bedroom                                   1>           1
     3 Bedroom
     Total             63 I                  1           64 ,           58             *   J
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   PERMANENT FUNDING SOURCES

       HCIDLA-HHH PSH                                                      8,000,000
       HCIDLA-HHH Non PSH

       4% TCAC Equity                                                   10,672,709

       Convent! onal/Bank Loan                                             4.506.000

       County of Los Angeles NPLH                                          7.130.000

   |GP Equity                                                               897,237 j
                                                                             42,112 j
                                                                                       I
   • Deferred Developer Fee

       Total                                     $                      31,648,058|


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   jTotal Jobs Supported, by category                .'Construction Costs
                                                      iDirect Effect on Jobs Multiplier             0.000006
   i
       TDC                          $   31,648,058 1# of Jobs Directly Supported                         169
       Land Acquisition             $    3,500,000l____
                                                      (Indirect Effect on Jobs Multiplier          0.0000024
                                                      s# of Jobs Indirectly Supported                     6g
       Net Development Costs        $   28,148,058
                                                     ! .Induced Effect on Jobs Multiplier          0.0000022
                                                      |# of Jobs Induced                                  62


                                                       Total Jobs Supported by Project
                                                       (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $8,000,000 is recommended. HHH funds represent $137,
   931 per unit and 25% of the total development cost. The total development cost per unit is $494,501.
   HHH funding is leveraged with 4% tax credit equity, a conventional loan, Federal Home Loan Bank
   Affordable Housing Program funds and County of Los Angeles No Place Like Home funds.

       CONSTRUCTION TIMELINE

       Construction is currently estimated to start in September 2020, and anticipated to be completed by
       May 2022.


       Prepared by: Los Angeles Housing + Community Investment Department
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     2:20-cv-02291-DOC-KES Document 339-4
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                                  #:15347
                                   #:8674



                                             STAFF REPORT
                                           As of: August 16, 2019

                                   Westlake Housing (The Lake House)
                             437 S. Westlake Avenue, Los Angeles, CA 90057

                                             New Construction
                                             Council District 1


    PROJECT DESCRIPTION

    The Westlake Housing (Lake House) project consists of two lots located at 437 and 503 S. Westlake
    Avenue. The new development will be a five story residential supportive housing development of 62
    affordable units for homeless individuals, and one (1) one-bedroom manager’s unit. One elevator will
    service residents and provide access to all floors, including a roof top deck. Ground floor amenities
    include 1,200 square feet (sf) of community space, lobby, mail room, offices for die property manager
    and supportive services staff, secure bicycle parking and 19 on-grade parking stalls for cars. An
    atrium-style interior open courtyard will be located on the second floor. Project design plans include
    a resident laundry room located on each floor. In addition to the first floor community room and the
    atrium-style courtyard, a small roof top deck will be located on the fifth floor of the building.

    The site consists of two occupied multifamily properties, one 10-unit apartment building, and one
    four unit apartment building. Both multifamily properties will be demolished to make room for the
    new construction of the project. Utilizing a relocation plan, the developer will re-house 11 residential
    households. The new project will include 63 residential units: 28 studio units, 34 one-bedroom units,
    including one (1) one-bedroom manager's unit.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Community Development Partners (CDP), is the developer, and will form the Westlake Limited
    Partnership (LP) and admit Westlake Mercy House CHDO LLC as the General Partner, Westlake
    CDP LLC as the Administrative General Partner, and a tax credit investor limited partner at
    construction loan close. Mercy House CHDO, Inc., is the managing member of Westlake Mercy
    House CHDO LLC, and CDP is the managing member of Westlake CDP LLC. As the Administrative
    General Partner, Westlake CDP LLC will have at least 51% voting authority over operations. The
    future ownership structure will consist of the following:

        1. Westl ake Mercy House CHDO LLC, as Managing General Partner (0,0041 %)
        2. Westlake CDP LLC, as the Administrative General Partner (0.0059%)
        3. Limited Partner, who has yet to be determined (99.99%)


    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals.
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                                   #:8675
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   AFFORDABILITY STRUCTURE

      Unit Type        PSH          Non-PSH 1 Mgrs.            Total     HHH         HHH        !
                       Total      | (Affordable)!                        PSH         Non-       |
                                                                       Funded        PSH        j
   Studio                    28                                   28           28.
                                                                                                i
   1 Bedroom               34                             1!      35           34!              :

   2 Bedroom                                                                                .
   3 Bedroom
   Total                   62                            1I       63        62
                                                                                            J
   PERMANENT FUNDING SOURCES

                      Source                        s           Amount

    HCIDLA-HHH PSH                                                       6,S 10,000
   Co. NPLH                                                              6,450100
   Ifhlb-ahp                                                               620,000
   ■496 TCAC Equity                                                      11,090,399
   Conventional Bank Loan                                                7/350,645
    Deferred Developer Fee                                                1,649,154
   Total                                                                 34270,198
                                                    1

   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                    i Construct! o n Costs____________
                                                         Ipirect Effect on Jobs Multiplier               0.000006
    TDC                                 $   34,270,198   i# of Jobs Directly Supported                       179!
    Land Acquisition                    $___ 4,490,000
                                    i                    Indirect Effect on Jobs Multiplier         I   0.0000024
                                                         #ofJobs Indirectly Supported                         71
    Net Development Costs               $   29,780,198
                                                         Induced Effect on Jobs Multiplier              0,0000022
                                                         l'# of Jobs Induced                                  66

                                                         Total Jobs Supported by Project_________            516
                                                         (excluding Cost of Land Acquisition only) I


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $6,510,000 is recommended. HHH funds represent
   $138,511 per unit and 19% of the total development cost. The total development cost per unit is
   $543,971. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.
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                                  #:8676

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    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in November 2020, and anticipated to be completed by
    March 2022.




    Prepared by: Los Angeles Housing + Community Investment Department
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                                  #:15350
                                   #:8677                                         p
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                                   #:8678


                                             STAFF REPORT
                                           As of: August 19,2019

                                                NoHo 5050
                                      5050 - 5050 % N. Bakman Ave.,
                                          Los Angeles, CA 91601

                                             New Construction
                                             Council District 2


    PROJECT DESCRIPTION

    The NoHo 5050 (project), located at 5050 N. Bakman Avenue, will be a supportive housing
    development consisting of 39 affordable housing units for survivors of domestic violence and
    qualifying low income families, one manager’s unit, five parking stalls, one disabled-accessible
    parking stall, one Electric Vehicle (EV) parking stall, 36 long-term bicycle parking storages, and three
    short-term parking storages at grade level. The site currently consists of two three-unit apartment
    buildings that will be demolished, which are currently occupied by six households; therefore,
    relocation benefits will be provided.

    The project is to be constructed as a new five-story building: four stories of Type V-A construction
    over one story of Type I construction at grade. The project will consist of 40 residential units,
    comprised of 4 studio units, 28 one-bedroom units, seven two-bedroom units, and one two-bedroom
    manager’s unit. Amenities include a laundry facility, learning center, community room, supportive
    services space, shared community kitchen, community garden for residents, and landscaped open
    space at the ground and roof levels.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be a limited partnership that will consist of Daylight Community
    Development, LLC, as Administrative General Partner, Decro NoHo 5050, LLC, as Managing
    General Partner, and NoHo 5050 PSH, LLC, as its Co-Managing General Partner. The Limited
    Partnership is to-be-determined and will include an investor at construction loan close. The future
    ownership structure will consist of the following:1 2 3 4

        1.   Decro NoHo 5050, LLC, as Co-Managing General Partner (0.0034%)
        2.   NoHo 5050 PSH, LLC, as Co-Managing General Partner (0.0033%)
        3.   Daylight Community Development, LLC, as Administrative General Partner (.0033%)
        4.   Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be survivors of domestic violence and low income families.
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                                  #:15352
                                   #:8679
   StaffReport: NoHo 5050
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   AFFORDABILITY STRUCTURE

      Unit Type        PSH       Non-PSH        Mgrs.      Total      HHH         HHH    i
                       Total    (Affordable)                          PSH         Non-
                                                                     Funded       PSH    1
   Studio                   4                                    4
    1 Bedroom              28                                  28           28S
   2 Bedroom                               7i                    S
   3 Bedroom
   Total                   32             7         1          40        2.8

   PERMANENT FUNDING SOURCES

                    Source                                   Amount

    HCIDLA-HHH PSH                                                     3,833,200
    HCIDLA-HHH Non PSH
   4% TCAC Equity                                                      6,221,074
    Conventional/Bank Loan                                             2,526,137

    Deferred Developer Fee
    County - NPLH                                                      4.984,382

    Total                                       $                     17,564,853


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.
                                                                                                  T™—11
    Total Jobs Supported, by category               [Construction Costs
                                                        Direct Effect on Jobs Multiplier                  0.000006;
    TDC                            $   17,564,853        of Jobs Directly Supported               1             95
    Land Acquisition               $    1,750,000
                                                        Indirect Effect on Jobs Multipljer___     ,   0.00000241
                                                    ^#of Jobs Indirectly Supported                              38
    Net Development Costs          $   15,814,853                                                 1
                                                    ilnduced Effect on Jobs Multiplier                0.0000022?
                                                    li of Jobs Induced
                                                    Ip                                                          35


                                                        Total Jobs Supported by Project                        168
                                                    l (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $3,833,200 is recommended. HHH funds represent
   $136,900 per unit and 21.82% of the total development cost. The total development cost per unit is
   $439,121. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan and County
   of Los Angeles -NPLH Funds.
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     2:20-cv-02291-DOC-KES Document 339-4
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                                  #:15353
                                   #:8680
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     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in July 2020, and anticipated to be completed by January
     2022.


     Prepared by: Los Angeles Housing + Community Investment Department
Case 2:12-cv-00551-FMO-PJW
     2:20-cv-02291-DOC-KES Document 339-4
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                                  #:15354
                                   #:8681
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                                   #:8682


                                            STAFF REPORT
                                          As of: August 19,2019

                                     Florence Avenue Apartments
                                  2160,2164,2172 W Florence Avenue
                                        Los Angeles, CA 90047

                                            New Construction
                                            Council District 8

    PROJECT DESCRIPTION

    The Florence Avenue Apartments (project), located at 2172 W. Florence Avenue, will be a permanent
    supportive housing development consisting of 55 affordable units for homeless seniors and
    chronically homeless individuals; and one manager’s unit. Twelve gucst/staff parking spaces and 56
    bicycle parking spaces will be provided. The site currently consists of a vacant commercial building
    previously used as an automotive shop and service bays, which will be demolished.

    The project will consist of 56 residential units, comprised of 25 studio units, 30 one-bedroom units,
    and one one-bedroom manager’s unit. All residential units will include full bathrooms; kitchens
    equipped with electric stove, refrigerator, and garbage disposal; air conditioning; window coverings;
    and high speed internet at no charge to the residents. All units will be furnished. Amenities will
    include a multi-purpose community room, fitness room, laundry facility, lounge area, and three office
    spaces for case management services. Additional outdoor amenities will include a community
    vegetable garden, cascading roof decks with barbecue and dining area, fitness path on the roof top,
    chess tables, and drought-tolerant plants.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Deep Green Housing and Community Development is the developer and will form a Limited
    Partnership. The Limited Partnership will consist of California Capital Housing Group as
    Administrative General Partner, with Deep Green Housing and Community Development as
    Managing General Partner. The future ownership structure will consist of the following:1 2 3

        1. Deep Green Housing and Community Development, as Managing General Partner (0.0051 %)
        2. California Capital Housing Group, as Administrative General Partner (0.0049%)
        3. Limited Partner, who has yet to he determined (99.99%)

    POPULATION SERVED

     The population served by the project will be homeless seniors.
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     2:20-cv-02291-DOC-KES Document 339-4
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                                  #:15356
                                   #:8683
   StaffReport: Florence Avenue Apartments
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   AFFORDABILITY STRUCTURE

      Unit Type        PSH      i1  Non-PSH j Mgrs. I Total              HHH          HHH
                       Total    | (Affordable);                          PSH          Non­
                                                                       Fund ed        PSH
   Studio                  25                                    25            25 h
   1 Bedroom               30                           V        31            20!;
   2 Bedroom
   3 Bedroom
   Total                   55                          1         56          45


   PERMANENT FUNDING SOURCES

                     Source                                       Amount                     li
   HCIDLA-HHH PSH                                                              6,300,000
   HCIDLA-HHH Non PSH
   ;4% TCAC Equity                                                           10,569,122 I
   Conventional/Bank Loan                                                     5,844,280
   [Deferred Developer Fee                                                     1,095,713 f
   j County - NPLH                               l“                          _5.860.000
   'Total                                         $                          29,669,115rs
   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Supported, by category                  ■ 'Construction Costs
                                                       i Dire ct Effect on J obsM ujti ojj e i          0.000006
   TDC                               $__29,669,115      # of Jobs Directly Supported                         175
    Land Acquisition                 $     435,000
                                                        Indirect Effect on Jobs Multiplier              0.0000024
                                                       '# of Jobs Indirectly Supported                         70
    Net Development Costs            $   29,234,115
                                                       ,Induced Effect on Jobs Multiplier               0.0000022
                                                      T"!#of Jobs Induced                                      64


                                                       [Total Jobs Supported by Project             I        31Q
                                                        (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $6,300,000 is recommended. HHH funds represent
   $140,000 per unit and 21% of the total development cost. The total development cost per unit is
   $529,806. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan and Los
   Angeles County-NPLH.
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                                    693-2 Filed 07/01/21
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                                  #:15357
                                   #:8684
    StaffReport: Florence Avenue Apartments
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    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in November 2020, and anticipated to be completed by
    September 2022.


    Prepared by: Los Angeles Housing + Community Investment Department
Case 2:12-cv-00551-FMO-PJW
     2:20-cv-02291-DOC-KES Document 339-4
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                                  #:15358
                                   #:8685
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                                                  STAFF REPORT
                                                As of: August 19,2019

                                 1615 W. Montana St., Los Angeles, CA 90292

                                                      New Construction.
                                                      Council District 13

    PROJECT DESCRIPTION

    The 1615 Montana Street Apartments (project), located at 1615 W. Montana St., will he a five story
    supportive housing development consisting of 63 affordable units for homeless and chronically
    homeless seniors, with one two-bedroom manager’s unit. The site consists of a vacant parking lot
    which will be demolished to make room for new construction of the project. The property is vacant,
    so tenant relocation is not required.

    The project consists of 64 units, comprised of 49 studio units, 14 one-bedroom units and one two-
    bedroom manager’s unit. All resident units include air conditioning/heating, kitchen with appliances
    and private bathroom(s). Project plans include a second floor resident courtyard and small roof top
    terrace, two community room spaces, laundry facilities, case management and leasing office space,
    14 vehicle parking stalls, secure space for bicycles and exterior landscaping visible from the street.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Domus GP LLC, is the developer, and will form a Limited Partnership (LP). The LP will admit
    Affordable Housing CDC, Inc., as the Managing General Partner, and a tax credit investor limited
    partner into the partnership at construction loan close. Bomus GP LLC as the Administrative General
    Partner, will have at least 51% voting authority over operations, which is detailed in a Memorandum
    of Understanding (MOU). Currently Mission Statement, LLC, owns the project site, and the LP will
    purchase the site prior to loan closing. The future ownership structure will consist of the following:1 2 3

        1. Affordable Housing CDC, Inc., as Managing General Partner (0.051 %)
        2. Domus GP LLC, as Administrative General Partner (0.049%)
        3. Limited Partner, who has yet to be determined (99,90%)

    POPULATION SERVED

    The population served by the project will be homeless seniors.

    AFFORDABILITY STRUCTURE


       Unit Type    PSH          Non-PSH      Mgrs,        Total        HHH      HHH    '
                    Total    | (Affordable)                             PSH      Non-       i

                                                       i               Funded     PSH
     Studio             49                                    49           48!
     1 Bedroom          14                                    14
     2 Bedroom                                        lj           1
     3_Bedroom
     Total              63                        1I          64           48
Case 2:12-cv-00551-FMO-PJW
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                                  #:8687
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   PERMANENT FUNDING SOURCES
                                         T
                    Source                               Amount

    HCIDLA-HHH PSH                                                 6,614,000 |
   Co. NPLH                                                        5,595,252
   Co. CDC                                                         5,000,000
   State HCD-SHMHP                                                 *A43,800
   4% TCAC Equity                                                  6,811,376
   Conventional Bank Loan                                          3,843,610
   Deferred Developer Fee                                            245,201
   GP Equity                                                         359,940
   Total                                     £                    3CL913.179
   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Supported, by category             I Construction Costs
                                                 1 Direct Effect on Jobs Multiplier            0.000006
    TDC                       $   30,913,179     # of Jobs Directly Supported                       148
    Land Acquisition          $___ 6,200,000
                                                 Indirect Effect on Jobs Multiplier           0.00000241
                                                 # of Jobs Indirectly Supported                      59
    Net Development Costs     $   24,713,179
                                                 Ind uced Effect oi.        lultiplier        0.0000022
                                                 # of Jobs Induced                                   54


                                                 Total Jobs Supported by Project                    262
                                                 (excludi ng Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $6,614,000 is recommended. HHH funds represent
   $137,792 per unit, and 21% of the total development cost. The total development cost per unit is
   $483,018. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in October 2020, and anticipated to be completed by April
   2022.


   Prepared by: Los Angeles Housing + Community Investment Department
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                                                   As of: August 19,2019

                                                      4507 Main Street
                                                4505-4507 South Main Street,
                                                   Los Angeles, CA 90037

                                                         New Construction
                                                         Council District 9

    PROJECT DESCRIPTION

    4507 Main Street (project) located at the intersection of Main Street and 46th Street, will be a mixed-
    use supportive housing development consisting of 64 unite. The project will provide several areas of
    community space distributed throughout the building. The ground floor will consist of a 1,144 square
    foot community room, approximately 3,414 square feet of courtyard space as well as 2 service
    provider offices, leasing offices, and a learning center. The project will provide 5,681 square feet of
    common open space. Residential units will be provided with amenities including a lull kitchen,
    bathroom, and sustainability features. The project will consist of 64 unite, comprised of 18 studio
    units, 45 one-bedroom units, and one two-bedroom manager’s unit.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be a limited partnership, Main Street, L.P., which will consist of Main Street
    EAH, LLC as Managing General Partner. The Limited Partner has not yet been determined. The future
    ownership structure will consist of the following:

        1. Main Street EAH, LLC, as Managing General Partner (0.01 %)
        2. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals and non­
    homeless low-income individuals.

    AFFORDABILITY STRUCTURE

       Unit Type     PSH         Non-PSK         Mgrs.       TotaS        HHH        HHH        ;
                    Total       (Affordable)                              PSH        Non-           j
                                                                         funded       PSH
     Studio                10              8.                   18              33          27
    j 1 Bedroom            23            22                     45
     2 Bedroom                                           1           1
     3 Bedroom
     Total                 33            30          1          64           33            27
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    PERMANENT FUNDING SOURCES

                     Source                            Amount

     HCIDLA-HHH PSH                                              4.620.000
     HCIDLA- HHH Non PSH                                         2.619.000
    4%TCAC Equity                                                6,298,713
     Conventional/Bank Loan                                      3,683,172
     Deferred Dev. Fee                                                98,286
    State HCD - MHP                                              1.520.000
     County - NPLH                                               4,000,000
    Total                                   $                   24,839,171


    JOBS SUPPORTED

    The following table indicates the number of jobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total Jobs Supported, by category            Construction Costs
                                                  Direct Effect on Jobs Multiplier            0.000006
     TDC                         $   24,839,171   #of Jobs Directly Supported                      129
     Land Acquisition            $    3,275,000
                                                  Indirect Effect on Jobs Multiplier          0.0000024
                                                  #of Jobs Indirectly Supported                     52
     Net Development Costs       $   21,564,171
                                                  induced Effect on Jobs Multiplier           0.0C0GQ22
                                                  # of Jobs Induced                                 47


                                                  Total Jobs Supported by Project                  m
    i__ _                                         (excluding Cost of Land Acquisition only)


    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $7,239,000 is recommended. HHH funds represent
    $120,650 per unit and 29% of the total development cost. The total development cost per unit is
    $388,112. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, State
    Housing and Community Development MHP funds and Los Angeles County NPLH funds.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in September 2020, and anticipated to be completed by
    January 2021.


    Prepared by: Los Angeles Housing + Community Investment Department
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                                                       STAFF REPORT
                                                    A.s of: August 1% 2019

                                                       7650 Van Nuys
                                                 7650 N. Van Nuys Boulevard
                                                   Los Angeles, CA 91405

                                                          New Construction
                                                          Council District 2

    PROJECT DESCRIPTION

    7650 Van Nuys (project), located near the intersection of Van Nuys Boulevard and Keswick Street,
    will be a five-story type V new construction project of supportive housing development consisting of
    95 units for homeless, chronically homeless, and low-income senior citizens. The site currently
    consists of one vacant and two leased commercial structures that will be demolished; therefore,
    relocation benefits will be provided. EAH Inc. is in escrow io purchase the property from the present
    owners of the site and intends to acquire the site with a to-be-formed limited partnership. The site is
    less than one block away from the Van Nuys Train Station, which functions as a transit hub
    connecting the regional Metro-Link and local bus services.

    The project will consist of 96 residential units, comprised of 47 studio units, 48 one-bedroom units,
    and one two-bedroom manager's unit with bathrooms, kitchen, and sustainability features. The
    project amenities will include a community room, three courtyards, four service provider offices,
    leasing offices, a staff lounge, a classroom, laundry facility, 32 parking spaces, and 72 bicycle storage
    spaces.

    BORROWER AND PROFOSEP OWNERSHIP STRUCTURE

    The ownership structure will be a limited partnership, Van Nuys, L.P., which will consist of Van Nuys EAH,
    LLC as Managing General Partner, The Limited Partner has not yet been determined. The future ownership
    structure wiil consist of the following:

        1. Van Nuys EAH, LLC, as Managing General Partner (0.01 %)
        2. Limited Partner, who has yet to he determined (99.99%)

    POPULATION SERVED

    The population served by the project will be low-income senior citizens and homeless and chronically
    homeless seniors.

    AFFORDABILITY STRUCTURE

       Unit Type     PSH          Non-PSH        Wiirs,       Total        HHH         HHH j
                    Total       '(Affordable):                             PSH         Non-       i
                                                                          Funded       PSH        i
     Studio                24              23-                   47              24          23
     1 Bedroom             25              23!                   48              251         23,
     2 Bedroom                                            1           1                           !

     3 Bedroom
     Total              49                46          1          96           49         46]
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                                  #:8691
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   PERMANENT FUNDING SOURCES
                                            T
                     Source                                   Amount

   HCIDLA - HHH PSH                                                       6,860,000
   HCIDLA-HHH Non PSH                                                     4,600,000
   4% TCAC Equity                                                      16,902,151

   Conventional/Bank Loan                                                   445,874

   GP Equity                                                              1,828,370

   Deferred Dev. Fee                                                        865,590

   State HCD - MHP                                                        S,124,100

   County - NPLH                                                          4.800.000

   Total                                        $                       47,426,085


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These maybe new or existing jobs.

   Total Jobs Supported, by category                !_lConstruction Costs
                                                     I Pi rect Effec^on Jobs Multiplier             O.COOOQoj
   TDC                          $   47,426,085 i :# of Jobs Directly Supported                          2521
   Land Acquisition           ' $    5,500,000
                                                     .Indirect Effect on Jobs Multiplier       ,   0.0000024
                                                       of Jobs Indirectly Supported            I         101
    Net Development Costs       $   41,926,085
                                                      Induced Effect on Jobs Multiplier            0.0000022
                                                    ! -#af Jobs Induced                                   92
                                                                                               i
                                                      Total Jobs Supported by Project          :         444
                                                      (excluding Cost of Land Acquisition only)!


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $11,460,000 is recommended. HHH funds represent
   $120,632 per unit and 24% of the total development cost. The total development cost per unit is
   $494,022. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, GP Equity,
   State Housing and Community Development - MHP funds and Los Angeles County - NPLH funds,

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in October 2020, and anticipated to be completed by April
   2022.


   Prepared by: Los Angeles Housing + Community Investment Department
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                                                As of: August 19,2019

                                               Sepulveda Apartments
                                 8428 N Sepulveda Boulevard, Los Angeles, CA 91343

                                                          Adaptive Reuse
                                                         Council District 6

    PROJECT DESCRIPTION

    The Sepulveda Apartments (project), located at 8428 N. Sepulveda Boulevard, will be a supportive
    housing development consisting of 75 units for homeless or chronically homeless veterans, and one
    manager’s unit. The site currently is a functional motel that will be renovated and modernized into
    an apartment complex.

    The project will consist of 76 residential units, comprised of 75 studio units and a one-bedroom
    manager’s unit. All units will include Ml bathrooms and kitchens equipped with a stove, refrigerator,
    microwave oven, and garbage disposal. All residential units will be furnished with a bed, television,
    and cabinets. Additional amenities will include a community/service rooms, communal kitchen,
    laundry facility, area offices to accommodate supportive services, and improved parking and
    landscape.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be a limited partnership that will consist of Figueroa Economical
    Housing Development Corporation as its Managing General Partner, Veterans Housing Partnership,
    LLC as the Administrative General Partner, and Step Up On Second Street, Inc. as the Co-
    Administrative General Partner. The Limited Partnership is to-be-determined, and will include an
    investor at construction loan close. The future ownership structure will consist of the following:1 2 3 4

         1.    Figueroa Economical Housing Development Corp., as Managing General Partner (0.0051 %)
         2.    Veterans Housing Partnership, LLC, as Administrative, General Partner (0.0048%)
         3.    Step Up On Second Street, Inc., as Co-Administrative General Partner (0.0001%)
         4.    Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless veterans.

    AFFORDABILITY STRUCTURE

       Unit Type        PSH        Non-PSH | Mgrs,           Total       I    HHH fj   HHH |
                        Total    ;(Affoidable)i                          1    PSH i    Non- j
                                                                             Funded    PSH
     5tuclio                75 i                                75               75!
     1 Bedroom                                       ll              1
     2 Bedroom     4-                                                                       j
     3 Bedroom                                           I
     Total                  75                       i          76               75
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   PERMANENT FUNDING SOURCES

                   Source                                Amount

   HCIDLA- HHH PSH                                                10,500,000
   HCIDLA-HHH Non PSH
   4%TCAC Equity                                                   8,370,520 ,
   Conventional/Bank Loan                                          7,700,964
   Deferred Developer Fee                                          1,250,000
   Seller Note                                                     2.000.000
   iTotal
   LI                                        5                    29,321,884 .


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Supported, by category               'Construction Costs
                                                   fp|rect Effect on Jobs Multiplier            0.000006
   TOC                            $   29,821,B84   1# of Jobs Directly Supported                     160
    Land Acquisition              $___ 3,074,100
                                                   Indirect Effect on Jobs Multiplier           0.0000024
                              I                    !# of Jobs Indirectly Supported                     64
    Net Development Costs         $   26,747,784
                                                   Induced Effect on Jobs Multiplier            0.0000022
                                                   !#of Jobs Induced                                  59


                                                   j Total Jobs Supported by Project                 284
                                                   !{eKc!uding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $10,500,000 is recommended. HHH funds represent
   $140,000 per unit and 35.21% of the total development cost. The total development cost per unit is
   $392,393. HHH funding is leveraged with 4% tax credit equity a conventional bank loan and a Seller
   Note.

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in January 2020, and anticipated to be completed by
   August 2020.


   Prepared by: Los Angeles Housing + Community Investment Department
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                                                As of: August 19,2019

                                      Sherman Way Apartments Preservation
                                          13561 W. Sherman Way 1-58,
                                             Los Angeles, CA 91405

                                                    Adaptive Reuse
                                                   Council District 2

    PROJECT DESCRIPTION

    Sherman Way Apartments Preservation (project), located at 13561 W. Sherman Way, will be a
    supportive housing development consisting of 55 affordable units for homeless and chronically
    homeless veterans, and one manager’s unit. The site is currently a 55-room motel with one manager’s
    office, which will be renovated and modernized into residential housing. Design of the building will
    remain the same.

    The project will consist of 56 units, comprised of 55 studio units and one one-bedroom manager’s
    unit. All residential units will entail a full bathroom and kitchen equipped with stove, refrigerator,
    microwave, dishwashers, and garbage disposal. Units will be fully furnished to include televisions,
    bed with frame, and bedroom cabinets. Additional amenities will consist of community/service
    rooms, laundry facility, communal kitchen, manager/services offices, and landscaped outdoor space.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Figueroa Economical Housing Development Corporation is the developer and will form a Limited
    Partnership. The Limited Partnership will consist of Figueroa Economical Housing Development
    Corporation as the Managing General Partner. The future ownership structure will consist of the
    following:

        1. Figueroa Economical Housing Development Corporation, as Managing General Partner
           (0.01%)
        2. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless or chronically homeless veterans.

    AFFORDABILITY STRUCTURE

       Unit Type    PSH          Non-PSH j Mgrs.        Total         HHH         HHH    |
                    Total      i (Affordable)                         PSH         Non-   j
                                                                     funded       PSH
     Studio               55                               55               55.
     1 Bedroom
     2 Bedroom                                     r            1!
     3 Bedroom
     Total                55                      i l       56           55
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                                  #:8695
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    PERMANENT FUNDING SOURCES

                      Source                              Amount

     HCIDLA-HHH PSH                                                 7,700,000
     HCIDLA-HHH Non PSH
     4% TCAC Equity     _                                           6,071,204
     Conventional/Bank Loan                                         5480,986
     Deferred Developer Fee                                          1450400
     Seller Note                                                      206.800

    LTotal                                  $                      20,808,990


    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total Jobs Supported, by category            j I Construction Costs____
                                                  | !Direct Effect on Jobs Mujtiplier             0.000006
     TDC                        $   20,808,990    IT# of Jobs Directly Supported                      116
     Land Acquisition           $    1,456,800! !
                                                  t (indirect Effect on Jobs Multi0jler          0.0000024
                                _______    __ j
                                                  1jft of Jobs Indirectly Supported                    46
     Net Development Costs      $   19,352,190 ! j
                                                  S 'induced Effect on Jobs Multiplier_____      0.0GQC022
                                                  1 j# of Jobs induced      __        __   __           43
                                                    j.      .           ____
                                                    [Total Jobs Supported by Project
                                                    [(excluding Cost of Land Acquisition only)


     FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $7,700,000 is recommended. HHH funds represent
    $140,000 per unit and 37% of the total development cost. The total development cost per unit is
    $371,589. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.

     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in January 2020, and anticipated to be completed by July
     2020.

     Prepared by: Los Angeles Housing + Community Investment Department
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                                           As of: August IS, 2019

                           Enlightenment Plaza - Phase II aka Voltaire Villas
                                       316 N, Juanita Avenue,
                                       Los Angeles, CA 90004

                                             New Construction
                                             Council District 13

    PROJECT DESCRIPTION

    Enlightenment Plaza - Phase II (project), located at 316 N. Juanita Avenue, will be a supportive
    housing development consisting of 71 affordable units for homeless individuals and one manager’s
    unit. The site currently consists of former industrial uses and is close to the Vermont Avenue transit
    corridor.

    The project will consist of 72 residential units, comprised of 65 studio units, 6 one-bedroom units,
    and 1 two-bedroom manager’s unit. All residential units will be furnished and will include a kitchen
    with dishwasher and refrigerator. Project amenities will include a secure entrance monitored by
    security cameras; a community room; resident laundry facilities; dedicated areas for life management
    skills, job training, and an area for the provision of sendees for veterans; Metro Red Line transit
    incentives; and office space for the project manager and supportive services staff. The development
    plans include parking spaces for residents, staff, and those not utilizing the Metro Red Line on Beverly
    and Vermont, just one block away.

    This project is Phase II of a campus-style development that will ultimately include four phases. To
    date, Phase I, which received HHH funding in 2018-19 Round 2, has been reconfigured to Phase IA
    and IB. As a result of seeking other funding sources, the Phase I project has $6,000,000 in HHH funds
    available to transfer to this project, thereby reducing the HHH Round 3 funding request to $3,940,000.
    Upon approval, there will be a total $9,940,000 of HHH funds committed to this project with the
    transfer and funding request.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The long-term ownership structure will be a limited partnership consisting of Flexible PSH Solutions
    as a Managing General Partner, with The Pacific Companies, hie., as Administrative General Partner.
    The Limited Partner has not yet been determined. Ownership structure will consist of the following;1 2 3

        1. Flexible PSH Solutions, as Managing General Partner (0.005%)
        2. The Pacific Companies, as Co-Managing General Partner (0.005%)
        3. Limited Partner, yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals.
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    Round 3 HHH CFP 2018-19
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    AFFORDABILITY STRUCTURE


       Unit Type       PSH          Non-PSH        iVIgrs.       Total          HHH         HHH
                       Total       {Affordable):                                PSH         Non-
                                                                               Funded       PSH        I
     Studio      __        65                                            65           65
     1 Bedroom                 6                                          6            6i
     2 Bedroom                                               1            1t
     3 Bedroom__|                                                                                      ;
     Total                   21                          i               72        n               -




    PERMANENT FUNDING SOURCES

                       Source                                            Amount
     HCIDLA - HHH PSH Round 3 Request

     HCIDLA-HHH PSH Transfer
                                                   t                                  3.940.000
                                                                                      6.005.000
    ■496 TCAC Equity                                                                  9,911,900
     Conventional Bond Debt                                                           2.650.000
     State HCD MHP                                                                    7.454.000

     General Partner Equity                                                                  m
     Total                                                                         29,956,000


    JOBS SUPPORTED

    The following table indicates the number of jobs supported through the construction financing of this
    project. These may be new or existing jobs.

     Total Jobs Supported, by category                            i Construction Costs
                                                                  tDirect Effect on Jobs Multiplier                   0.000006
                                       f
     TDC                               i $   29,956,000           : # of Jobs Directly Supported                           154
     Land Acquisition                  ‘ $     4,320,000          i___
                                                                  j Indirect Effect on Jobs Multiplier           ,   0.0000024
                                                                  I# of Jobs Indirectly Supported                          62
     Net Development Costs             [ $   25,636,000
                                                                  tInduced Effect on Jobs Multiplier                 0.0000022
                                                                  !# of Jobs Induced                                       5&

                                                                 i Total Jobs Supported by Project                        212.
                                                                   t (excluding Cost of Land Acquisition only)
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $3,940,000 is recommended, along with a request to
    transfer HHH funds in the amount of $6,000,000 from Enlightenment Phase I project that was
    approved in CFP Round 2, 2018-19. The phases of this campus project have been reconfigured,
    resulting in available funds to go towards this project phase. The total amount of HHH Funds will be
    $9,940,000. HHH funds represent $140,000 per unit and 33% of the total development cost (TDC).
    The TDC per unit is $416,056. HHH funding is leveraged with 4% tax credit equity, State Housing
    and Community Development MHP funds and conventional debt.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in July 2020, and anticipated to be completed by October
    2021.




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                                                      STAFF REPORT
                                                    As of: August 19,2019

                                                Central Apartments
                                          2106,2108,2112 S Central Avenue
                                               Los Angeles, CA 90011

                                                          New Construction
                                                          Council District 9

    PROJECT DESCRIPTION

    The Central Apartments (project), located south of the Los Angeles Fashion District, will be a five*
    story permanent supportive housing development, consisting of 56 units for homeless veterans,
    individuals, and other at risk populations and one manager’s unit, with nine on-grade parking spaces
    and bicycle storage. The site is currently vacant and will not require any demolition to take place.

    The project will consist of 57 residential units, comprised of 56 studio units and one one-bedroom
    manager’s unit. All residential units will be fully furnished with a dresser, nightstand, dining table
    with chairs, and a double bed; will include a private bathroom and a kitchenette with refrigerator and
    microwave oven; contain closet space; and will provide heating, air conditioning, and paid utilities.
    Additional amenities will consist of indoor community recreation space, such as a communal kitchen
    and lounge areas; onsite property management/services; laundry facility; and a recycling room.
    Outdoor amenities will include a common outdoor area with landscape areas on the second floor.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Western Community Housing, Inc., as the Managing General Partner, will form a Limited Partnership
    and admit an investor Limited Partner into the partnership at construction loan close. The Limited
    Partnership will later be structured to include Highridge Costa Development Company, LLC as an
    Administrative General Partner and a Managing General Partner. The future ownership structure will
    consist of the following:1 2 3

        1. Western Community Housing, Inc., as Managing General Partner (0.005%)
        2. Highridge Costa Development Company, LLC, ai Administrative General Partner (0.005%)
        3. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals and homeless veterans.

    AFFORDABILITY STRUCTURE

       Unit Type       PSH       Non-PSH I      IWIgrs.     Total     HHH       HHH
                       Total    (Affordable)!                         PSH       Non-   |
                                                                     Funded     PSH
     Studio                56                                   56       56;
     1 Bedroom                                                                         !
                   T                                      1_____LL.
    2 Bedroom                               !              !
    ^Bedroom
    Total                  56                         S.        57       56 ’
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   PERMANENT FUNDING SOURCES

                       Source                                Amount

   .HCIDLA - HHH PSH                                                      7,840,000 j
    HCIDLA-HHH Non PSH

   4% TCAC Equity                                                       10,376,204

   j Conventional/Bank Loan                                               6/444,879
                                                                                       i
   (Deferred Developer Fee                                                 851,665

   County-NPLH                                                     ___;
   Total                                       $                        30,227,967


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   (Total Jobs Supported, by category              ! Construction Costs
                                                   !Direct Effect on Jobs Multiplier              0.000006
   TDC                          $ 30,227,967       '# of Jobs Directly Supported              t   _ _ 162
    Land Acquisition            $ 3,300,000
                                                                                      I'          a0000024
                                               1 I# of Jobs Indirectly Supported                        65
    Net Development Costs       $ 26,927,967 ,               _ _ _ _ _ _ __ _ _ _ _ _
                                                   (induced Effect on Jobs Multiplier         i   0.0000022
                                                   !# of Jobs Induced


                                                   Total Jobs Supported by Project
                                                   [(excluding Cost of Land Acquisition only) |


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $7,840,000 is recommended. HHH funds represent
   $140,000 per unit and 26% of the total development cost. The total development cost per unit is
   $530,315. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in March 2020, and anticipated to be completed by October
   2021.




   Prepared by. Los Angeles Housing + Community Investment Department
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                                                        STAFF REPORT
                                                      As of: August 19, 2019

                                                           SOLA at 87th
                                                      8707 S Western Avenue
                                                      Los Angeles, CA 90047

                                                            New Construction
                                                            Council District 8

    PROJECT DESCRIPTION

    The SOLA at 87th (project), located on 8707 S. Western Avenue, will be mixed-use supportive
    housing development consisting of 98 affordable units for homeless individuals and homeless
    veterans, and two two-bedroom manager’s units. There will be no demolition or relocation of
    structures as the current land is vacant.

    The project will consist of 100 units, comprised of 51 one-bedroom units, 42 two-bedroom units, 5
    three-bedroom units, and two two-bedroom manager’s units in a garden style landscape. The ground
    floor will include a sit-down restaurant as well as other commercial spaces to activate this
    underutilized commercial corridor. The development will provide ample outdoor recreation areas and
    parking.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Innovative Housing Opportunities Inc. will form a Limited Partnership and admit an investor Limited
    Partner into the partnership at construction loan close. The Limited Partnership will consist of
    Innovative Housing Opportunities Inc. or IHOSOLA at 87th, LLC as its Managing General Partner,
    and SOLA at 87th, LLC as Administrative General Partner. The future ownership structure will consist
    of the following:1 2 3

        1. IHO-SOLA at 87th, LLC, as Managing General Partner (0.005%)
        2. SOLA at 87* 1, LLC, as Administrative General Partner (0.005%)
        3. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless individuals and homeless veterans.

    AFFORDABILITY STRUCTURE

       Un5fc Type       PSK        j Non-PSH        Mgrs.        Total            HHH         HHH
                        Total      '(Affordable)                                  PSH         Non-
                                                                                 Funded        PSH
     Studio                                                  1                                         f
                                                                                                       1
     1 Bedroom              iU                                      51       \          51.
     2 Bedroom                               42             2!      44 '                             19:
     3 Bedroom                                 5!                        5
     Total          l         51             47         2          100               51             13 j
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                                   #:8703
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   PERMANENT FUNDING SOURCES

                      Source                             Amount
   HCIDIA-HHH PSH
   HCIDLA - HHH Non PSH                                            1,360,000
        TCAC Equity                                               20,441,573 i
   Conventional/Bank Loan                                         10,744,000
   Accrued Interest HHH                                                147,307
   GP Equity                                                       5,SS6,964 ,
   County - NPLH
   State HCD-MHP
                                        r                          5,750,000

                                         i
   FHLB-AHP                                                        2,487/467 ,
   County - IIG                                                       1,132,331 |
   ! Total                                   $                    61,352,493 ,




   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These maybe new or existing jobs.

   Total Jobs Supported, by category             ~~TConstruction Costs
                                                 J Direct Effect on                 I               0.000006
   TDC                         $   61,952,493     !# of Jobs Directly Supported                          .326
   Land Acquisition
                                                 j jlndirect Effect on Jobs Muttigjier              0.0000024
                                                   Iff of Jobs Indirectly Supported                       130
    Net Development Costs      S   54,352,493
                                                  ,induced Effect on Jobs Multiplier                0.0000022
                                                  iff of Jobs Induced                                     120

                                                  'Total jobs Supported by Project       ______ _
                                                  l(exduding Cost of Land Acquisition only) 1


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $9,000,000 is recommended. HHH funds represent
   $128,571 per unit and 15% of the total development cost. The total development cost per unit is
   $619,524. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, GP equity,
   Deferred developer fee, State Tax Credits, State AHSC funds, State MHP funds and Los Angeles
   County - NPLH funds, Los Angeles County AHTF and County FHLB - AHP,

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in March 2021, and anticipated to be completed by June
   2022.


   Prepared by: Los Angeles Housing + Community Investment Department
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                                                    STAFF REPORT
                                                  As of: August 19, 2019

                                                   The Angel
                               8547 N. Sepulveda Boulevard, Los Angeles, CA 91343

                                                      New Construction
                                                      Council District 6


    PROJEC T DESCRIPTION

    The Angel (project), located at 8547 Sepulveda Boulevard, will be a supportive housing development
    consisting of 53 affordable and one two-bedroom manager’s unit for homeless and chronically
    homeless veterans. Twenty covered parking stalls and 44 bicycle storage spaces will be provided for
    residents. The site currently has two vacant commercial buildings that will be demolished.

    The project will consist of 54 residential units, comprised of 26 studio units for homeless veterans,
    27 studio units for chronically homeless veterans, and one two-bedroom manager’s unit. All units
    will have full bathrooms, kitchenettes, and some furnishing with all utilities paid. Amenities will
    include common areas, two courtyards, conference space, a lobby, laundry facility exercise room,
    three case management offices spaces, and trash and recycle room. Outdoor amenities 'will include
    access to a rooftop community garden and a gated dog park.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    LA Family Housing is the sponsor and developer and will form a Limited Partnership. The Angel
    2019 GP, LLC is the Managing General Partner. After syndication, a to-be-determined investor or
    fund will replace LA Family Housing’s 99.99% ownership interest in the limited partnership. The
    future ownership structure will consist of the following:1 2

        1. The Angel 2018 GP, LLC, as Managing General Partner (0.01%)
        2. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless veterans and chronically homeless veterans.

    AFFORDABILITY STRUCTURE

       Unit Type       PSH        j Non-PSH I Mgrs.        Total         HHH     !   HHH    j
                       Total      (Affordable):                          PSH         Non-
                                                                        Funded       PSH
     Studio                53                                 53               40i
     1 Bedroom
     2 Bedroom
                   i                                               1i            X
     3 Bedroom                                                                              I
     Total                   S3                    1   l      54            40
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                                  #:8705
   StaffReport: The Angel
   Round 3 HHH CFP 2018-19
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   PERMANENT FUNDING SOURCES

                   Source                             Amount

   HCIDLA - HHH PSH                                         5,565,000

   HCIDLA - HHH Non PSH

   4% TCAC Equity                                           9,592,480

   Conventional/Bank Loan                                   1,498,000

   GP Egui ty________                                              100
   Deferred Dev. Fee                                        1,338,479

   FHLB - AHP                                               1.500.000

   County - NPLH                                            6.500.000

   LA County CDC Loan                                       2,000,000
   LACDC Accrued Deferred Interest                              72,747

   NPLH Accrued Deferred Interest                             130,036

   AHP Accrued Deferred Interest                           „ 30.008      i
   Total                                     s             28,226,850


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Supported, by category              !Construction Costs
                            i                     iDirect Effect on Jobs Multiplier            0.000006
   TDC                          $   28,226,850    r: of Jobs Directly Supported
                                                  I#                                                159
   Land Acquisition             $    1,800,000     '
                                                 j Indirect Effect on Jobs Multiplier          0.0000024
                                                  !# of Jobs indirectly Supported                    63>
   Net Development Costs        $   26,426,850
                                                   Induced Effect on Jobs Multiplier           0.0000022
                                                    of Jobs Induced


                                                   Total Jobs Supported by Project      __
                                                 ! (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $5,565,000 is recommended. HHH funds represent
   $139,125 per unit and 19.71% of the total development cost. The total development cost per unit is
   $522,719. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, GP Equity,
   deferred developer fee, Los Angeles Connty-FHLB - AHP, Los Angeles County-NPLH funds, Los
   Angeles County CDC loan, Los Angeles CDC accrued deferred interest, Los Angeles County-NPLH
   accrued deferred interest and AHP accrued deferred interest.
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        CONSTRUCTION TIMELINE

        Construction is currently estimated to start in November 2020, and anticipated to be completed by
        May 2022.




        Prepared by: Los Angeles Housing + Community Investment Department




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                                                         STAFF REPORT
                                                       As of: August 19,2019

                                                          Westlake 619
                                                    619,623 S Westlake Avenue
                                                      Los Angeles, CA 90057

                                                            New Construction
                                                            Council District 1

        PROJECT DESCRIPTION

         Westlake 619 (project), located at 619-623 S. Westlake Avenue, will be a supportive housing
         development consisting of 77 affordable units for low income families, homeless individuals,
         chronically homeless, and homeless families; with one manager’s unit and 31 residential parking
         spaces and bicycle parking storage. The site is currently vacant; therefore, no structures require
         demolition and relocation benefits do not apply.

        This six-story new construction will consist of 78 units, comprised of 36 one-bedrooms units, 19 two-
        bedrooms units, 22 three-bedroom units, and one two-bedroom manager’s units. All residential units
        will include a full bathroom and kitchen. Additional amenities include a laundry facility, community
        room, and manager/services office space. Outdoor amenities include a rooftop deck with patio and a
        large courtyard.

         BORROWER AND PROPOSED OWNERSHIP STRUCTURE

         Meta Housing Corporation is the developer and will form a Limited Partnership to admit an investor
         Limited Partner into the partnership at construction loan close. The Limited Partnership will consist
         of Meta Housing Corporation as the Managing General Partner, and Westlake Affordable Housing,
         LLC as the Administrative General Partner. The future ownership structure will consist of the
         following:1 2 3

            1. Meta Housing Corporation, ass Managing General Partner (0.0051 %)
            2. Westlake Affordable Housing, LLC., as Administrative General Partner (0.0049%)
            3. Limited Partner, who has yet to be determined (99.99%)

         POPULATION SERVED

         The population served by the project will be families, homeless individuals and homeless families.

         AFFORDABILITY STRUCTURE

I          Unit Type     PSH      ,   Non-PSH       Mgrs,       Total     HHH       HHH    '
                        Total     [ (Affordable)*                          PSH      Non-
                                                                        I Funded     PSH
         Studio
         1 Bedroom          26               10'                   36         23'
         2 Bedroom              2 E          17             1      20
         3 Bedroom              2i           20                    22           I
         Total              30 I            47              1      7£        22 I
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                                  #:15382
                                  #:8709
   StaffReport: Westlake 619
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   PERMANENT FUNDING SOURCES

                     Source                           Amount

   HCIDLA-HHH PSH                                               3,149,580 j
   HCIDLA-HHH Non PSH
   |4%TCAC Equity                                              13,031,399
   I Conventional/Bank Loan                                     8,267,712
   | Deferred Developer Fee                                       267,885 r
   State HCD - MHP                                              9.500.000
   jTotai                                 $                    34,276,576
   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

   Total Jobs Supported, by category            ^Construction Costs
                                                ! Direct Effect on Jobs Multiplier              0.000006
   TDC                         $   34,276,576   I# of Jobs Directly Supported                        2C6
    Land Acquisition           $
                                                Ijndirectjffect on Jobs Multiplier              0.0000024
                                                j# of Jobs Indirectly Supported                       82
    Net Development Costs      $   34,276,576                                               i
                                                Induced Effect on Jobs Multiplier               0.0000022
                                                -# of Jobs Induced


                                                Total Jobs Supported by Project                      363
                                                (excluding Cost of Land Acquisition only)


   FUNDING RECOMMENDATION

   An HCIDLA funding commitment of up to $3,149,580 is recommended. HHH funds represent
   $136,938 per unit and 9.19% of the total development cost. The total development cost per unit is
   $439,443. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, State HCD
   - MHP funds, and Deferred Developer Fees.

   CONSTRUCTION TIMELINE

   Construction is currently estimated to start in June 2020, and anticipated to be completed by October
   2021.




   Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8710

                                           STAFF REPORT
                                         As of: August 20,2019

                                      . Bell Creek Apartments
                                      6940 N. Owensmouth Avenue
                                         Los Angeles, CA 91303

                                            New Construction
                                            Council District 3

    PROJECT DESCRIPTION

    Bell Creek Apartments (project), located at 6940 N. Owensmouth, will be a supportive housing
    development consisting of 79 mixed affordable units for homeless, chronically homeless individuals,
    and families and low income families, one manger’s unit, with 66 type 1-A podium parking spaces,
    48 long-term bicycle stalls, and 24 short-term bicycle stalls on ground level. The site is currently
    composed of four contiguous parcels, three of which have one-story single family homes of two to
    three bedrooms each, for a total of seven bedrooms. The remaining parcel is vacant land. The three
    improved parcels will be vacated and demolished. The existing tenants will be permanently relocated,
    and provided with appropriate relocation benefits by the developer.

    The project will consist of 80 residential units, comprised of 40 one-bedroom units, 19 two-bedroom
    units, 20 three-bedroom units and one two-bedroom manager’s unit. All residential units will include
    bathrooms and fully-equipped kitchens. Amenities include a community recreation room, fitness
    center, laundry facility, office spaces for case management/services, and property manager. Outdoor
    amenities include a roof top terrace, playground, and landscaped courtyards.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    The ownership structure will be a Limited Partnership consisting of Western Community Housing,
    Inc., as Managing General Partner and 6940 Owensmouth, LLC as the Administrative General
    Partner. The future ownership structure will consist of the following:1 2 3

        1. Western Community Housing Affordable XLVI, LLC, as Managing General Partner
           (0.005%)
        2. Owensmouth 6940, L.P., as Administrative General Partner (0.005%)
        3. Limited Partner, yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless and chronically homeless individuals, homeless
    families, and low-income families.
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    StaffReport: Bell Creek Apartments
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    AFFORDABILITY STRUCTURE

          Unit Type        PSH         | Nen-PSH       Mgrs,      Total      HHH          HHH
                           Total       Affordable)                            PSH         Won-       j
                                                                            Funded        PSH    j
        Studio
        1 Bedroom
        2 Bedroom
                      f        37
                                   2          __ u±
                                                   3
                                                        - r~
                                                                      40
                                                                      20
                                                                                    37j          3’
                                                                                                 2
        3 Bedroom                                1?                   20             2
        Total                  41               38 I       i                    41|
                                                                                                 Sj

    PERMANENT FUNDING SOURCES

                       Source                                    Amount

        HCIDLA - HHH PSH                                              5,740,000 [

    ' HCIDLA - HHH Non PSH                                                486,546 ;

            TCAC Equity                                              13,087,642

    |conyentional/JBank Loan                                          9,283,376

    j Deferred Dev. Fee                                                    57,038
                                                                                     1
    [County - AHTF                                                     2,90*3,000
    i           ”
    I County- MHHP                                                     3,000,000

    ,No Place Like Home                                                6.2.90.000
    1                                                  $             39,943,602
        Total


    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

        Total Jobs Supported, by category                      Construction Costs
                                                               Direct Effect on Jobs Multiplier                 0.0000061
        TDC                               $   39,949,602       # of Jobs Directly Supported                          2121
        Land Acquisition                  $   4,560,000
                                                               Indirect Effect on Jobs Multiplier              0.0000024"
                                                               tt of Jobs Indirectly Supported                        fig*
        Net Development Costs             $   35,389,602
                                                               Induced Effect on Jobs Multiplier           .   0.0000022
                                                               # of Jobs Induced                                      78


                                                               Total Jobs Supported by Project                       325
                                                               (excluding Cost of Land Acquisition only)                   2
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    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $6,226,546 is recommended. HHH funds represent
    $135,359 per unit and 16% of the total development cost. The total development cost per unit is
    $499,370. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, deferred
    developer fee, Los Angeles County-AHTF, Los Angeles County-MHHP, and Los Angeles County -
    NPLH funds.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in May 2020, and anticipated to be completed by February
    2022.




    Prepared by; Los Angeles Housing + Community Investment Department
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                                                      STAFF REPORT
                                                    As of: August 19,2019

                                             Washington Arts Collective
                                    4600,4601,4609,4615 W Washington Boulevard
                                               Los Angeles, CA 90016

                                                     New Construction
                                                     Council District 10

    PROJECT DESCRIPTION

    The Washington Arts Collective (project), located on the southwest comer of W. Washington
    Boulevard and Vineyard Avenue, will be a supportive housing development consisting of 55
    affordable units for homeless, chronically homeless, low income families, and special needs and one
    manager’s unit. The overall project will be new Type 1- A, and Type V-A construction and consists
    of two sites. The site currently has two vacant commercial buildings that will be demolished.

    The project will consist of 56 units, comprised of 29 one-bedroom units, 11 two-bedroom units, 15
    three-bedroom units, and one one-bedroom manager’s unit. Amenities will include common areas,
    conference space, a lobby, laundry facilities, management/service office spaces with kitchenette,
    fitness room, and a community room. Outdoor amenities will include access to a rooftop community
    garden, a gated dog park, 90 parking spaces, and 67 bicycle spaces. Additional features will include
    an artist studio/rehearsal and gallery areas and other ancillary project or community-related uses.

    BORROWER AND PROPOSED OWNERSHIP STRUCTURE

    Meta Housing Corporation is the developer and will form a Limited Partnership. After syndication, a
    to-be-determined investor will be admitted into the Limited Partnership. The Limited Partnership will
    consist of WCH Affordable XXXIII, LLC, as the Managing General Partner and WAC, LLC will be
    the Administrative General Partner. The future ownership structure will consist of the following:1 2 3

        1. WCH Affordable XXXIII, LLC, as Managing General Partner (0.0051 %)
        2. WAC, LLC, as Administrative General Partner (0.0049%)
        3. Limited Partner, who has yet to be determined (99.99%)

    POPULATION SERVED

    The population served by the project will be homeless families and low-income families.

    AFFORDABILITY STRUCTURE

       Unit Type       PSH           Non-PSH t Mgrs,        Total      HHH        i   HHH    !
                       Total       [(Affordable);                      PSH            Non-
                                                                                             i
                                                                      Funded          PSH
     Studio
     1 Bedroom               17                        ll      30 i          15
                   i                          “I                                             i
     2 Bedroom                 1              10               11
     3 Bedroom                 2              13                15                           i
     Total                   20 i            35        1       56         15 !
Case
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    PERMANENT FUNDING SOURCES

                       Source                               Amount
    HCIDLA - HHH PSH_______                                       2,037,200    i
    HCIDLA-HHH Non PSH

    4% TCAC Equity                                               10,456,170
    Conventional/Bank Loan                                        6,002,000
    Deferred Dev. Fee

    County - NPLH         ________
                                             r                    1,563,313
                                                                  3,514,053
                                             4-
    State HCD - MHP                                               6.147.537
    Total                                         $              29,780,273


    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

    Total Jobs Supported, by category                 ^Construction Costs
                                                      i Direct Effect on Jobs Multlpl ier              0.000006
    TDC                         $    29,780,273       j# of Jobs Directly Supported                         379
    Land Acquisition            $
                                                       indirect Effect on Jobs Multiolier          .   0.0000024
                                                      i# of Jobs Indirectly Su[ l orted                      71
    Net Development Costs        $   29,780,273   |J
                                                      !lltduced Effect on Jobs Multiplier              0.0000022
                                                       # of Jobs Induced


                                                      ; Total Jobs Supported by Project                     m
                                                       (excluding Cost of Land Acquisition only)


    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $2,097,200 is recommended. HHH funds represent
    $139,813 per unit and 7% of the total development cost. The total development cost per unit is
    $531,790. HHH funding is leveraged with 4% tax credit equity, a conventional bank loan, deferred
    developer fees, State KCD-MHP funds, and Los Angeles County-NPLH funds.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in March 2020, and anticipated to be completed by August
    2021.




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                                                  STAFF REPORT
                                                As of: August 20,2019

                                                    5th St. PSH
                                                  411 E. 5th Street,
                                               Los Angeles, CA 90013

                                                  New Construction
                                                  Council District 14

         PROJECT DESCRIPTION

         The 5th St. PSH Apartments (project), located at 411 E. 5th Street, will be a supportive housing
         development consisting of 150 affordable units for homeless and chronically homeless individuals,
         and one (1) one-bedroom manager’s unit. The units are inspired by the concepts of modular design,
         and will feature design elements with highly-efficient floor plans. Currently, the project site consists
         of a vacant parking lot, vacant commercial property, and vacant storage shed. The parking lot and
         two buildings will be demolished to make room for the new construction of the project.

         The completed project will contain 150 affordable one-bedroom units, and one (1) one-bedroom
         manager’s unit. All units will include air conditioning/heating, private bathrooms, a kitchen with
         appliances and fully-furnished living rooms and bedrooms. Two elevators will service residents and
         provide access to all floors. Resident amenities include a multi-purpose room, courtyard, laundry
         facilities on each floor, small lobby and lounge, secure space for bicycle storage and servicing, and
         property manager and supportive services offices.

         The Relevant Group (Developer), will be utilizing 34 out of the 151 units for the replacement housing
         obligation requirement for their Barclay and Morrison hotel projects. As such, Relevant reduced their
         original HHH funding request of $12,900,000 to $4,760,000 (see Table 1 below). Note, the HHH
         column’s Total TDC is based solely on HHH funding of $140,000 for 34 Supportive Housing (SH)
         units out of the total 151 units. The Total All 151 Units TDC of $35,392,966 is based on the
         cumulative project unit total.

                                            TABLE 1:
                       REVISED FUNDING REQUEST FOR STB STREET PSH PROJECT
                                  HHH" Supportive
                                          ' '     Housing      Non-HHH Funded 117             Total AD
                                   (SH) Funded 34 Units        _____ SH Units______           151 Units_____
          HHH                              $ 4,760,000,00                       $0        $ 4,760,000.00
          4% TCAC Equity              __ S 2,464,886.52              $ 8,482,109.48      $10,946,996.00
          Conventional Loan                $2,599,761.59             $ 8,946,238.41      $ 11,546,000 66
          GP Equity
                                           $ 1,832,847.68 j          $6,307,152.32         $ 8,140,000.00
          (or GAP amount)
               ~ TOTAL TDC*               $ 11,657,496.00          $ 23,735,500.00       $35,392,966.00
          Per Unit Development
                                             $ 342,864.52              $202,867.52           $ 234,390.70
          Cost^_______ _____                                                                    ________ >
         * Note: The Total TDC and Per Unit Development Cost in each column is directly related to the number
i
         of units funded by that program.
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     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     The site is owned by the Relevant Group, who has formed the 5th Street Partnership, LLC. The future
     development will be owned by RG 5th St PSH L.P., a yet to-be-fonmed California limited partnership
     in which 5th Street Partnership, LLC will serve as Administrative General Partner (AGP), and
     CHAPA Housing Solutions LLC, a yet to be formed California limited liability company whose sole
     member and manager is Community Housing Assistance Program, Inc. will serve as the Managing
     General Partner (MGP).

     The partnership, in addition to the AGP and MGP, will admit a Limited Partner investor at
     construction loan close. The GP CHAPA, will have at least 51% voting authority over operations,
     which will be detailed in the future Limited Partnership Agreement. The ownership structure will
     consist of the following:

         1. CHAPA Housing Solutions LLC, as Managing General Partner (.0051 %)
         2. 5th Street Partnership LLC, as Administrative General Partner (.0049%)
         3. Limited Partner, who has yet to be determined (99,99%)

     POPULATION SERVED

     The population served by the project will be homeless and chronically homeless individuals with
     special needs.

     AFFORDABILITY STRUCTURE

        Unit Type       PSH         Non-PSH 1 Mgrs.         Total    HHH            HHH   ;
                       Total       (Affordable)]                     PSH        ,   Non- »
                                                                    Funded          PSH *]
                                               f
      Studio                                                                              I
      1 Bedroom               34                       1'      35          34             I
      2 Bedroom
      3 Bedroom
      Total                   34                       1       35        34


     PERMANENT FUNDING SOURCES
                       Source                                   Amount

      HCIDLA- HHH PSH                                                      4,760,000
      4% TCAC Equity                                                       2,464,887
      Conventional Loan                                                    2,599,762
      GP Equity (or Gap Amount)                                            1.B32.84B
      Totai                                        $                     11,657,496
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     JOBS SUPPORTED

     The following table indicates the number ofjobs supported through the construction financing of this
     project. These may be new or existing jobs.

     Total lobs Supported, by category       __   _j Construction Costs
                                                     t ’Direct Effect on Jobs Multi oMer
                                                                                             ~t-   !    0.000006
     TOC                            $   11,657,496 i j# of Jobs Directly Supported                 i          65
     Land Acquisitlon               $
                                                      ! indirect Effect on Jobs Multiplier
                                                                                                   \ 0.0000024

                                1                     !# of Jobs Indirectly Supported                          26
      Net Development Costs     j $     10,753,522    f
                                                      j                       '
                                                      1 Induced Effect on Jobs Multiplier              0.00000221
                                                      j# of jobs Induced                                       24:

                                                      |Total Jobs Supported by Project
                                                      !(eacluding Cost of Land Acquisition only)


     FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $4,760,000 is recommended. HHH funds represent
     $140,000 per unit, and 41% of the total development cost. The total development cost per unit is
     $342,864.52 based on the 34 units funded through the HHH program. HHH funding is leveraged with
     4% tax credit equity and a conventional bank loan.

     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in March 2020, and anticipated to be completed by March
     2021.




     Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8720


                                               STAFF REPORT
                                             As of: August 19,2019

                                     West LA VA Campus Building 207
                                        11301 Wilshire Blv<L #207
                                          Los Angeles, CA 90025

                                              New Construction
                                  (Is not located in a City Council District)



     PROJECT DESCRIPTION

     The West LA VA Campus Building 207 (project), located at 11301 Wilshire Blvd. #207, will be a
     three-story supportive housing development consisting of the renovation of the historic West Los
     Angeles VA Building into 63 affordable units for homeless senior veterans (aged 62+), and a ono-
     bedroom manager’s unit. The land and Building 207 are currently owned by the government of the
     United States of America, and is not located in a Los Angeles City Council district. The project site
     is currently vacant, so no demolition or residential tenant relocation is necessary prior to renovation.
     Building 207 is situated on the West Los Angeles VA Medical Campus, which makes up
     approximately 350 acres. The Campus site and some of the buildings are registered as National
     Historic Landmarks. Building 207 is included within the campuses’ historic neighborhood.

     The project will consist of 64 residential units, comprised of 57 studios, six one-bedroom units, and
     one one-bedroom manager's unit. All residential units will include air conditioning and heating, a
     small kitchenette with a refrigerator and hot plate/bumer, window coverings, and cable TV and
     internet hook-ups. Additional amenities consist of 1,816 square feet (sf) of resident community space
     with TV lounge, computer lab, fitness room, laundry facilities, and onsite management and case
     worker offices. One elevator will service residents and provide access to all floors, and each floor will
     contain multiple lounge seating areas. The outdoor amenities include a courtyard with barbecue,
     dining and fitness areas.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     Thomas Saftan & Associates Development, Inc. (TSA), a for-profit corporation, is the principal
     developer and will form the VA Building 207 L.P. partnership. The partnership will later be structured
     to include the Housing Corporation of America, a not-for-profit organization, as the Managing
     General Partner (MGP), the VA Building 207 LLC as the Administrative General Partner (AGP), and
     will select and admit a limited partner investor at construction loan closing. Veterans Affairs and the
     L.P. partnership will sign a 75-year Enhanced Use Lease (EUL) upon receipt of all enforceable
     funding commitments and prioT to closing. TSA is also a partner member of the West LA Veterans
     Collective LLC, The future ownership structure will consist of the following:

         1. Housing Corporation of America, as Managing General Partner (0.051%)
         2. VA Building 207 LLC, as Administrative General Partner (0.049%)
         3. Limited Partner, who has yet to be determined (99.99%)
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   POPULATION SERVED

   The population served by the project will be homeless individuals.

   AFFORDABILITY STRUCTURE
                                                      i
      Unit Type           PSH         Non-PSH             Wlgrs.        Total       HHH          HHH
                        Total        (Affordable)                                   PSH          Non-
                                                                                  Funded         PSH
                                                                                                        i
    Studio                      57                                         57             57;
    1 Bedroom                    6                                 1!         7             6i
    2 Bedroom
    3 Bedroom                                         f
    Total                       63                               1         64 !         SS

   PERMANENT FUNDING SOURCES

                      Source                                         Amount

   IHCIDLA- HHH PSH                                                             8^20,000
    County NFLH                                                                 3,936340
    Conv. Bank Loan                                                             5,420,000
   '4% TCAC Equity                                                            12,176/425
    Tranches (Sec E Ln)
   1 GP Equity
   ! Defered Developer Fee                                                      1,014,196 I

   Total                                          $                           31,367,161 1


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

    Total Jobs Supported, by category                            1 Construction Costs                        \
                                      r
                                                                 I Direct Effect on Jobs Multiplier              0,000006
    TDC                                   $   31,367,161         I# of Jobs Directly Supported                        188
    Land Acquisition                                         1
                                                                 .Indirect Effect on Jobs Multiplier             0.0000024
                                                                   # of Jobs Indirectly Supported                      75
    Net Development Costs                 $   31,367,161
                                                                   Induced Effect on Jobs Multiplier             0.0000022
                                                                 I# of Jobs Induced                                    69


                                                                   Total Jobs Supported by Project           T        m.
                                      t                            (excluding Cost of Land Acquisition only) I           u
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     FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $8,820,000 is recommended. HHH funds represent
     $140,000 per unit and 28.1% of the total development cost. The total development cost per unit is
     $490,112. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.


     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in February 2020, and anticipated to be completed by July
     2021.




     Prepared by: Los Angeles Housing + Community Investment Department
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                                   #:8723
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                                              STAFF REPORT
                                            As of: August 19,2019

                                            Thatcher Yard Housing
                                           3233 S, Thatcher Avenue
                                            Las Angeles, CA 90292

                                              New Construction
                                              Council District 11

     FROJECT DESCRIPTION

     Thatcher Yard Housing (project), located at 3233 S. Thatcher Avenue, will be a mixed supportive
     housing development consisting of 97 affordable units for formerly homeless individuals, families
     and seniors, end one manager’s unit. The 2.14 acre parcel is currently owned by the City of Los
     Angeles, and formerly was a City maintenance yard. The site is vacant and no residential tenant
     relocation is required as part of this new development. The property is in close proximity to medical
     facilities and a hospital, shopping, entertainment and economical food venues,

     The design of the project includes a central three story building containing senior units, surrounded
     by one- and two-story individual bungalows reserved for families. The project will consist of 98
     units, comprised of 76 one-bedroom units, 13 two-bedroom units, eight three-bedroom units, and one
     three-bedroom the manager’s unit. All residential units will include a private balcony, air conditioning
     and heating, a refrigerator, oven and stove, carpeting, window coverings, and cable and internet hook­
     ups. Additional amenities will include a central community space with television lounge, a computer
     lab, fitness room, laundry facilities, mail room, resident/staff meeting rooms, offices for the on-site
     manager and supportive services staff, secure bicycle parking area and 82 subterranean parking
     spaces. Outdoor amenities include exterior landscaping, a playground area for children, a central open
     area patio, several garden areas and two elevators to service residents in the central buildings and
     provide access to all floors.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE


     Thomas Safr&a & Associates Development Inc. (TSA), is the developer, and will form Thatcher Yard
     Housing L.P. and admit Housing Corporation of America as the Managing General Partner and
     Thatcher Yard Housing LLC, as the Administrative General Partner. A tax credit limited partner
     investor will be admitted into the LP at construction loan closing. TSA will be the Managing Member
     of the Administrative General Partner. Additionally, Thomas L. Safran is the sole member of the
     Thatcher Yard Housing LLC, and Sole Director and 100% owner of Thomas Safran & Associates
     Development, Inc. The Administrative General Partner will have at least 51% voting authority over
     operations, which will be detailed in the future Limited Partnership Agreement. The LP is in the
     process of negotiating a Disposition and Development Agreement (DDA) with the City, and
     eventually will execute a 99-ycar ground lease. The future ownership structure will consist of the
     following:

         1. Housing Corporation of America, Managing General Partner (0.C51 %)
         2. Thatcher Yard Housing LLC, Administrative General Partner (0.049%)
         3. Investor Limited Partner, who has yet to be determined (99.99%)
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    POPULATION SERVED

    The target population is low income or homeless individuals, chronically homeless individuals,
    families and seniors. Of the total of 98 units, 97 of which are affordable units, 49 units (51% of the
    total) will be reserved as supportive housing (SH) for homeless and chronically homeless
    individuals or families with young children. Forty eight (48) of the 98 units will be reserved for
    non-special needs family and seniors.

    AFFORDABILITY STRUCTURE

         Unit Type   PSH          Non-PSH        Mgrs.           Total      HHH         HHH
                                                                                               6
                     Total       (Affordable)                               PSH         Non-
                                                                           Funded        PSH   1
    Studio
                         37                                         76            37i
                                                                                               !
    1 Bedroom                             39
    2 Bedroom                8              5.                      13                         1
    3 Bedroom                4              4i              i!       9             4
    Total                49               46              1- h      93 ;       49


    PERMANENT FUNDING SOURCES

                     Source                                              Amount

    Ihcioia-hhhpsh                                                                 11,660,000

    Co. NPLH                                                                           6,151,558
                                                  r
    4% TCAC Equity                                                                 22,452,844

    CCRC Perm Loan                                                                 11,600,006

    1FHLB - AMP                                                                         970,000
    r.
     Defered Developer Fee                                                        -1,550.316
    Total                                             $                            54,684,712
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     JOBS SUPPORTED

     The following table indicates the number ofjobs supported through the construction financing of this
     project These may be new or existing jobs.

     Total Jobs Supported, by category          1 ^Construction Costs_____________
                                                1 tDirect Effect onJobs Multiplier                0.000006:
     TDC                      ■ $   54,684,712 I i# of Jobs Directly Supported       _                .328
     Land Acquisition
                               _______________ . 11 ndi rect Effect onJobs Multiplie r           0.0000024
                                                   •# of Jobs Indirectly Supported                     m
     Net DevelopnnentCosts    | $   54,684,712 j

                              1                 | Induced Effect on Jobs Multiplier              0.0000022
                                                   #of Jobs induced                                   .122

                                                   iTotal Jobs Supported by Project
                                                   (excluding Cost of Land Acquisition only) I


     FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $11,660,000 is recommended. HHH funds represent
     $120,026 per unit for 97 HHH SH and affordable units. HHH funds represent 21% of the total
     development cost. Total development cost per unit is $558,007. HHH funding is leveraged with 4%
     tax credit equity and a conventional bank loan.

     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in March 2021, and anticipated to be completed by March
     2023.




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                                   #:8727
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                                              STAFF REPORT
                                            As of: August 19, 2019

                                             Lincoln Apartments
                                            2467 S. Lincoln ElvcL,
                                           Los Angeles, CA 90291

                                              New Construction
                                              Council District 11



     PROJECT DESCRIPTION

     The Lincoln Apartments (project), located at 2467-69 and 2471 S. Lincoln Blvd., will be a four-story
     mixed supportive housing development consisting of 39 affordable units for homeless individuals and
     one two-bedroom manager’s unit. The site consists of two contiguous parcels with commercial
     improvements. To accommodate the new project, the developer proposes fully demolishing one
     building, and most of the second building, preserving a mural on the west fapade visible from Lincoln
     Boulevard. Safe Place for Youth (SPY), which will serve as the project’s case manager, currently
     resides in one of the commercial buildings, and will be temporarily relocated until the project is
     completed- The location is close to the Venice Family Clinic medical and mental health facility, as
     well as multiple transit options, a Metro Bike Share station, and area shopping centers.

     The project will contain 40 residential units comprised of 28 studio units, nine one-bedroom units,
     two (2) two-bedroom units and one two-bedroom manager's unit. All units will include air
     conditioning/heating, ceiling fan(s), private bathroom(s), and a fully equipped kitchen with stove,
     refrigerator, garbage disposal and dishwasher. Other amenities include an elevator, laundry facilities,
     flexible use space on the 2nd floor, 46 bicycle parking spaces, resident meeting rooms and office
     space for the case management services staff. The site plan includes resident outdoor space with
     several open courtyards, a rooftop terrace, ground floor coffee shop and public art gallery. The project
     will seek a LEED for Homes certification, at a minimum of Silver level.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     Venice Community Housing Corporation (VCHC), is the developer and sole General Partner. A
     Limited Partnership (LP) will be created, and will admit the to-be-determined tax credit investor into
     the partnership at construction loan close. The LP will either purchase the properties from VCHC or
     directly from the sellers. VCHC will have 100% voting authority over operations. The future
     ownership structure will consist of the following:

         1. Venice Community Housing Corporation, as Managing General P artner (0.01 %)
         2. Limited Partner, who has yet to be determined (99.99%)

     POPULATION SERVED

     The population served by the project will be individuals experiencing homelessness, with 20 units
     targeted for chronically homeless persons, and 19 units for homeless transition-aged youth.
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   AFFORDABILITY STRUCTURE

      Unit Type         PSH         I Non-PSH           Mgrs.        Total      HHH      !     HHH      :
                                                                                                        i
                        Total       > (Affordable) j                            PSH            Non-
                                                                               Funded          PSH      j
    Studio                  28                                          28          28 s
    1 Bedroom                   9                                         9j          9:
    2 Bedroom                   2                               1.        3           2!
    3 Bedroom                                                                                           i
    Total                   39                                1         40 j      39 I




   PERMANENT FUNDING SOURCES

                       Source                                         Amount

    HCIDLA- HHH PSH                                                              5.460.000 1
    Co. NPLH                                                                     4.750.000 i
    Conventional Loan (CCftC)                                                    1,948,562 i
    4% TCAC Equity                                                               5,537,953 I
   [Tranche B (Sec 8 Ln)                                                         1,840,408
                                                                                                    !
   |GP Equity                                                                                IfiS
    Total                                               $                       15,537,023




    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

    Total Jobs Supported, by category                   i Construction Costs
                                                        iDi                                                 0,000006
    TDC                             $_ 19,537,023 '# of Jobs Directly Supported                                   M
    Land Acquisition                $   3,100,030
                                                        .Indirert Effect on Jobs Multiplier                 0.0000024
                                                        t#of Jobs Indirectly Supported                            39
    Net Development Costs I $ 16,437,023
                                                                                                            0.0000022
                                                       — Induced Effect
                                                                  —*----on Jobs Multiplier
                                                        ■tt of Jobs Induced                                       36

                                                        Total Jobs Supported by Project________ t                       ;
                                                         (excluding Cost of Land Acquisition only);
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     FUNDING RECOMMENDATION

     An HCIDLA funding commitment of up to $5,460,000 is recommended. HHH funds represent
     $140,000 per affordable housing unit and 28% of the total development cost. The total development
     cost per unit is $488,426. HHH funding is leveraged with 4% tax credit equity and a conventional
     bank loan.


     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in September 2020, and anticipated to be completed by
     January 2022.




     Prepared by: Los Angeles Housing + Community Investment Department
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                                                           STAFF REPORT
                                                         As of: August 19,2019

                                                    49*36-4926 Saate Monica
                                                4912 W. Santa Monica Boulevard
                                                     Los Angeles, CA 90029

                                                            New Construction
                                                            Council District 13


     PROJECT DESCRIPTION

     The 4906-4926 Santa Monica (project), located at 4912 W. Santa Monica Blvd. will be a supportive
     housing development consisting of 61 affordable units for homeless seniors, and one manager’s unit.
     The site is currently improved with three existing commercial structures, which are vacant and will
     be demolished as part of the development process.

     The projects’ 62 residential units are comprised of 61 studios units, and one two-bedroom manager’s
     unit. All residential units will include kitchenettes, bathrooms, small living/sleeping and dining areas.
     Project amenities include a resident community room with communal kitchenette, learning center,
     laundry facilities, an open courtyard, meeting rooms and offices for management/services staff, an
     elevator to provide access to all floors and bicycle parking.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     Wakeland Housing and Development Corporation (Wakeland), a California not-for-profit
     coiporation, is the developer and will form a Limited Partnership with art affiliated LLC entity as the
     Managing General Partner; an investor will be admitted into file partnership at a later time. The
     ownership structure will consist of the following:

         1. Wakeland Housing and Development Corporation with an affiliated LLC entity, as Managing
            General Partner (0.01%)
         2. Limited Partner, who has yet to be determined (99.99%)

     POPULATION SERVED

     The population served by the project will be homeless seniors, age 55 years and older.

     AFFORDABILITY STRUCTURE

        Unit Type       PSH            Won-PSH        t/igrs.        Total        HHK       HHH
                                                  i
                        Total        (Affordable) i                               PSH       Mon-
                                                                                 Funded     PSH
      Studio
                    t
                            61                                          61           38-           >
                    T
      1 Bedroom
      2 Bedroom                  t                              13           1
      3 Bedroom
                                                  i
      Total                 61                              1           62           3B i
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   PERMANENT FUNDING SOURCES

                         Source                             Amount

       HCIDLA- HHH PSH                                                5.225.000
       496TCAC Equity                                                14,299,200

       Conv. Bank Loan                                                4.260.000
       County NPLH                                                   11,030,764
       Deferred Dev, Fee                                              1,031,000
       HHH Accrued/Deferred Interest                                      192.150
    Total                                     s                      36,038,114


   JOBS SUPPORTED

   The following table indicates the number ofjobs supported through the construction financing of this
   project. These may be new or existing jobs.

       Total Jobs Supported, by category             IConstruction Costs
                                                     I Direct Effect on Jobs Multiplier              0.000006
       TDC                        $    35,038,114    iff of Jobs Directly Supported
       Land Acquisition           $___ 6,400,000                      ’
                                                    I IndirectJEffect on Jobs Multiplier            0.0000024
                                                      ft of Jobs Indirectly Supported                     71
       Net Development Costs      $    29,638,114
                                                     induced Effect on Jobs Multiplier              0.0000022
                                                     '# of Jobs Induced                                   65


   i                                                  Total Jobs Supported by Project      ■             IM
                                                      (excluding Cost of Land Acquisition only) j


    FUNDING RECOMMENDATION

    An HCIDLA funding commitment of up to $5,225,000 is recommended. HHH funds represent
    $137,500 per unit (38 units) and 14.5% of the total development cost. The total development cost per
    unit is $581,260. HHH funding is leveraged with 4% tax credit equity and a conventional bank loan.

    CONSTRUCTION TIMELINE

    Construction is currently estimated to start in March 2020, and anticipated to be completed by June
    2021.




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                                              STAFF REPORT
                                            As of; August 19,2019

                                                 2652 Pico
                                           2652 W. Pico Boulevard
                                           Los Angeles, CA 90006

                                              New Construction
                                              Council District 1




     PROJECT DESCRIPTION

     The 2652 Pico Apartments (project), located at 2652 W. Pico Boulevard will be a four-story
     supportive housing development consisting of 53 affordable units for homeless seniors, and one
     manager’s unit. The site is currently improved with two existing commercial structures operating as
     a hardware supply store. Both existing structures will be demolished with commercial relocation
     completed as part of the development process.

     The project will consist of a total of 54 units, comprised of 53 studio units and one two-bedroom
     manager’s unit. All residential units will be completely furnished with full bathrooms and
     kitchenettes. Amenities include a community room, resident supportive services offices, a manager’s
     office, laundry facilities and bicycle parking. Additionally, plans include a first floor courtyard and
     patio, a small deck and roof terrace on the fourth floor, exterior landscaping on the side yards and an
     elevator to provide residents access to all floors.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     Wakeland Housing and Development Corporation (Wakeland), a California not-for-profit
     corporation, is the developer and will be forming a Limited Partnership with an affiliated LLC entity
     as the Managing General Partner. The Limited Partner investor will be determined and admitted into
     the partnership at a later time. The ownership structure will consist of the following:

        1. Wakeland Housing and Development Corporation with an affiliated LLC entity, as Managing
           General Partner (0.01%)
        2. Limited Partner, who has yet to be determined (99.99%)

     POPULATION SERVED

     The population served by the project will be homeless seniors, age 55 years and older.
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    AFFORDABILITY STRUCTURE

       Unit Type             PSH               Non-PSH          IVtgrs.        Total         HHH        HHH j
                             Total           (Affordable)                                    PSH        Non- I
                                                                                            Funded      PSH
    Studio                          53                                            53              26
    1 Bedroom                            I                                                                   !
    2 Bedroom          l                                                  1,           1
    3 Bedroom         T                                                    i
    Tots!                           S3                                i!          54             26
                      I                                     \          I


    PERMANENT FUNDING SOURCES

                           Source                                          Amount

    HCIDLA- HHH PSH                                                                        3,550,000
    49STCAC Equity                                                                     12,715,199
    Conv./Bank Loan                                                                        3,450,009
    County NPLH                                                                            9,468,258
    Deferred Dev. Fee                                                                       166,950 j
    GP Equity_ _ _ _ _ _                               j                                    642.000 i
    Total                                                  $                           29,592/08 j


    JOBS SUPPORTED

    The following table indicates the number ofjobs supported through the construction financing of this
    project. These may be new or existing jobs.

    TotaI Jobs Supported, by category                                 f Construction Costs                          <
                                                                      [Direct Effect on Jobs Multiplier                 O.GOGOOS
    TDC                                        $    29,992,408        i#of Jobs Directly Supported                           155
    Land Acquisition                           $    4,100,000 I ,_______________________________
                                                                    | Indirect Effect onjobs Multiplier                 0.0000024
                                                                      !#of Jobs Indirectly Supported                          62
    Net Development Costs                       $   25,892,408
                                                                      . Induced Effect on Jobs Multiplier               0.0000022
                                                                      1# of Jobs Induced                                       57

                                                                  J Total Jobs Supported by Project__________
                                                                          (excluding Cost of Land Acquisition only) S


    FUNDING RECOMMENDATION

    An HCIDLA binding commitment of up to $3,550,000 is recommended. HHH funds represent
    $136,538 per unit and 11.8% of the total development cost. The total development cost per unit is
    $555,415. HHH binding is leveraged with 4% tax credit equity and a conventional bank loan.
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     CONSTRUCTION TIMELINE

     Construction is currently estimated to start in June 2020, and anticipated to be completed by
     September 2021.




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                                         STAFF REPORT
                                           June 19,2019

                                  11010 Santa Monica Boulevard
                                     Los Angeles, CA 90025

                                        New Construction
                                       Council District No: 5



     PROJECT DESCRIPTION

     11010 Santa Monica Boulevard (the Project) will be a new construction development that will
     provide 50 affordable studio apartments for seniors and senior veterans, and 1 two-bedroom
     manager’s unit. The Project was proposed in response to a Request for Proposals (RFP) issued
     by HCIDLA, seeking proposals for supportive housing on a City-owned parking lot. The RFP
     sought proposals for developments featuring high-quality design that could be produced more
     inexpensively and more quickly than the typical supportive housing development in the City of
     Los Angeles. The proposed development will employ modular, prefabricated units.

     As proposed, the Project will feature a community room (available to residents and others in the
     community), gym, reading room, outdoor patio, and roof deck along with resident services
     offices. The proposal includes plans to replace all 24 existing public parking spaces, however,
     the level of replacement parking required has not yet been determined. The proposal received
     scored very well for its elegant design and its incorporation of the Department of City Planning’s
     three pillars of good design: pedestrian orientation, 360° design, and climate adaptive design.

     Located near the West Los Angeles Veterans Affairs Medical Center, the Project’s location is
     ideal for seniors and senior veterans requiring affordable housing. Also nearby, are several
     community services and amenities, including the West Los Angeles Regional Branch Library.

     PROJECT FINANCE SUMMARY

     The RFP submission proposes using HHH, 4% tax credits, tax exempt bonds, and a permanent
     loan to finance the development of this project. The proposal pro forma does not project a
     financing gap, and includes funding for all 24 replacement parking spaces.

     BORROWER AND PROPOSED OWNERSHIP STRUCTURE

     The intended ownership structure will be a to-be-formed limited partnership consisting of a
     developer to be selected by City Council simultaneous to this funding commitment.
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      PROPOSED PERMANENT FUNDING SOURCES

      Source                                        Amount
      HCID-HHH                                    $7,000,000
      Tax Credit Equity                            7,742,917
      Conventional Loan                            5,200,000
      GP Equity                                          100
      Total                                     $ 19,943,017


      AFFORDABILITY STRUCTURE

      Unit Type       Mgrs.      30%          45%    50%       60%        Total
                                 AAR          AMI    AMI       AMI
      0 Bedroom                   50           0      0          0         50
      1 Bedroom                   0            0      0          0          0
      2 Bedroom          1        0            0      0          0          1
      Total              1        50            0                0         51


      FUNDING RECOMMENDATION

      A Proposition HHH funding commitment of up to $7,000,000 is recommended, HHH funds
      represent $140,000 per unit for 50 HHH units. HHH funds represent 35% of the Total
      Development Cost (TDC). TDC per unit is $391,040. HHH funding is leveraged with 4% tax
      credit equity and a conventional bank loan.

      CONSTRUCTION TIMELINE

      Construction is proposed to start in July 2020, and anticipated to be completed by April 2021.




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                             2018-19 HHH Call for Projects Round 3 Project List

 Application #      Project Name            Developer Name                 Address         CD   Leverage   Total Units   PSH     PSH Chronic Non-PSH       Mgr     TDC          TDC/Unit    Total HHH          HHH           Homeless        Jobs       Estimated
                                                                                                Source                   Units              (Afford-       Units                             Request       Request/Unit     Population     Supported   Construction
                                                                                                                                              able)                                                                          Served                     Start Date

                    PROJECTS RECOMMENDED FOR APPROVAL

669              Hope on 6th           1010 Development                 576 W. 6th 5t.     15     4%           49         31         23        17            1     28,615,371     583,987      6,040,000         158,947 Mental Illness,     303        4/1/2020
                                       Corporation                                                                                                                                                                       Individuals

663              5ilverStar II         A Community of Friends        6576 S. West Blvd.    8      4%           64         56         28        7             1     26,623,932     415,999      6,404,900         136,274 Individuals,        257        7/15/2020
                                                                                                                                                                                                                         Family

642              Lorena Plaza          A Community of Friends           3401 E. 1st St.    14     4%           49         32         16        16           1      25,819,084     526,920      2,903,202         138,248 Individuals,        252       12/25/2020
                                                                                                                                                                                                                         Family

635              The Main              Abbey Road, Inc.              15302 W. Rayen St.    6      4%           64         33         17        29           2      41,018,669     640,917      6,795,000         123,545 Homeless            404        3/1/2021
                                                                                                                                                                                                                         Youth, Family
634              The Rigby             Abbey Road, Inc.              15314 W. Rayen St.    6      4%           64         33         17        29           2      41,970,484    655,789       6,795,000         123,545 Homeless            414        8/1/2020
                                                                                                                                                                                                                         Youth, Family

643              Chavez and Fickett    Abode Communities             338 N. Mathews St.    14     4%           60         30         15        29           1      41,186,592     686,443      6,300,000         123,529 Individuals,        404        3/1/2021
                                                                                                                                                                                                                         Family
646              Hope on Hyde Park Aedis                              6501S. Crenshaw      8      4%           98         97         49        0            1      40,093,334    409,116       9,280,000         138,507 Individuals         388        10/1/2020
                                                                            Blvd.
666              Hope on Broadway Aedis                               5138 S. Broadway     9      4%           49         48         24        0            1      22,162,568    452,297       6,720,000         140,000 Individuals         219        10/1/2020

691              Topanga               Affirmed Housing Group,        10243 N. Topanga     12     4%           64         63         32        0            1      28,617,938    447,155       8,290,800         138,180 Individuals         287        2/16/2021
                 Apartments            Inc.                             Canyon Blvd.
658              Barry Apartments      Affirmed Housing Group,        2454 S. Barry Ave.   11     4%           61         34         17        26           1      31,932,359     523,481      6,918,400         123,543 Individuals,        294        3/16/2021
                                       Inc.                                                                                                                                                                              Family
690              2745-2759 Francis    Affordable Housing CDC,       2745 W. Francis Ave.   1      4%           64         63         32        0            1      30,851,806    482,059       6,610,000         137,708 Seniors             263        9/1/2020
                 Ave                  Inc.
667              537 - 541 N.         Affordable Housing CDC,       541 N. Western Ave.    4      4%           64         63         32        0            1      30,997,101    484,330       6,614,118         137,794 Individuals         265        9/1/2020
                 Western Ave.         Inc.
655              841 N. Banning       Century Affordable            841 N. Banning Blvd.   15     4%           64         63         32        0            1      31,648,058    494,501       8,000,000         137,931 Individuals         298        9/7/2020
                                      Development, Inc.
648              Westlake Housing     Community Development         437 S. Westlake Ave.   1      4%           63         62         32        0            1      34,270,198     543,971      6,510,000         138,511 Mental Illness,     316        11/4/2020
                 (The Lake House)     Partners                                                                                                                                                                           Individuals


676              NoHo 5050             Decro Corporation            5050 N. Bakman Ave.    2      4%           40         32         16        7            1      17,564,853    439,121       3,833,200         136,900 Family,             168        7/1/2020
                                                                                                                                                                                                                         Domestic
647              Florence Avenue       Deep Green Housing and      2172 W. Florence Ave.   8      4%           56         55         30        0            1      29,669,115    529,806       6,300,000         140,000 Seniors             310        11/1/2020
                 Apartments            Community Development

638              1615 Montana St.      Domus GP LLC                 1615 W. Montana St.    13     4%           64         63         32        0            1      30,913,179    483,018       6,614,000         137,792 Seniors             262        10/1/2020

665              4507 Main St.         EAH Housing Inc.                4505 S. Main St.    9      4%           64         33         17        30           1      24,839,171     388,112      7,239,000         120,650 Individuals         229        9/1/2020
                                                                                                                                                       J
651              7650 Van Nuys         EAH Housing Inc.               7650 N. Van Nuys     2      4%           96         49         25        46           1      47,426,085    494,022      11,460,000         120,632 Seniors             444       10/12/2020
                                                                            Blvd.
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 Application #      Project Name          Developer Name               Address           CD    Leverage   Total UriK   PSH     t5HO?f»nic Non-PSH    Mgr       TDC           TWyUnJt     Total HHH         HHH           Homeless         Jobs       Estimated
                                                                                               Source                  Units              (Afford-   Units                                Request       Request/Unit     Population     Supported   Construction
                                                                                                                                           able)                                                                           Served                    Start Date


652              Sepulveda           Figueroa Economical          8428 N. Sepulveda      6       4%           76        75        38         0         1       29,821,884     392,393      10,500,000         140,000 Veterans             284       1/20/2020
                 Apartments          Housing Development                Blvd.
                 Preservation LP     Corporation
681              Sherman Way         Figueroa Economical          13561W, Sherman        2       4%           56        55        28         0        1        20,808,990     371,589       7,700,000         140,000 Veterans             205       1/20/2020
                 Apartments          Housing Development              Way 1-58
                 Preservation        Corporation
692              Enlightenment Plaza Flexible PSH Solutions       316 N. Juanita Ave.    13      4%           72        71         36        0        1        29,956,000     416,056       9,940,000         140,000 Individuals,         272       7/1/2020
                 - Phase II                                                                                                                                                                                           Family
668              Central Apartments Highridge Costa          2106 S. Central Ave.        9       4%           57        56         28        0        1        30,227,967     530,315       7,840,000         140,000 Individuals,         285       3/1/2020
                                    Development Company, LLC                                                                                                                                                          Veterans
644              SOLA at 87th        Innovative Housing          8707 S. Western Ave.    8       4%          100        51         26       47        2        61,952,493     619,525       9,000,000         128,571 Individuals,         576       3/1/2021
                                     Opportunities, Inc.                                                                                                                                                              Family,
                                                                                                                                                                                                                      Veterans
674              The Angel            LA Family Housing           8547 N. Sepulveda      6       4%           54        53         27        0         1       28,226,850     522,719       5,565,000         139,125 Individuals,         280      11/16/2020
                                                                        Blvd.                                                                                                                                         Veterans
662              Westlake 619        Meta Housing Corp.          619 S. Westlake Ave.     1      4%           78        30         15       47         1       34,276,576     439,443       3,149,580         136,938 Individuals,         363       6/1/2020
                                                                                                                                                                                                                      Family

675              Bell Creek           Meta Housing Corporation   6940 N. Owensmouth      3       4%           80        41         22       38         1       39,949,602     499,370       6,226,546         135,360 Individuals,         375       6/1/2020
                 Apartments                                              Ave.                                                                                                                                         Family

641              Washington Arts      Meta Housing Corporation   4615 W. Washington      10      4%           56        20         10       35         1       29,780,273     531,791       2,097,200         139,813 Family               316       3/11/2020
                 Collective                                             Blvd.

650              5th Street PSH       Relevant Group                 411 E. 5th St.      14      4%           35        34         17        0         1       11,657,496     333,071       4,760,000         140,000 Individuals          114        1/1/2020

687              VA Building 207     Thomas Safran 8i            11301 Wilshire Blvd.,   N/A      4%          64        63         32        0         1       31,367,161     490,112       8,820,000         140,000 Seniors              332       3/31/2020
                                     Associates                         #207

637              Thatcher Yard       Thomas Safran 8i            3233 5. Thatcher Ave.   11       4%          98        49         25       48         1       54,684,712     558,007      11,660,000         120,206 Family, Seniors      580       3/31/2021
                 Housing             Associates

657              Lincoln Apartments Venice Community Housing 2467 S. Lincoln Blvd.       11       4%          40        39         20        0         1        19,537,023    488,426       5,460,000         140,000 Homeless             174       9/1/2020
                                    Corporation                                                                                                                                                                       Youth, Other
                                                                                                                                                                                                                      Homeless

661              4906-4926 Santa      Wakeland Housing &         4912 W. Santa Monica    13       4%          62        61         31        0         1       36,038,114      581,260      5,225,000         137,500 Seniors              314       3/13/2020
                 Monica               Development Corp.                  Blvd.

659              2652 Pico            Wakeland Housing &          2652 W. Pico Blvd.      1       4%          54        53         27        0         1       29,992,408      555,415      3,550,000         136,538 Seniors              274       3/13/2020
                                      Development Corp.

                 SUBTOTAL                                                                                    2179      1691       868       451       37     1,094,497,446     502,293    231,120,946         135,479                      10,521
                 (AVERAGE)

                 - HHH REQUEST PER UNIT IS BASED ON THE AMOUNT OF UNITS FUNDED BY HHH FUNDS
